              Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 1 of 95

                                                                                       FILED
                                                                                      U S DISTRICT COURT
                                                                                  EASTeRN DISTRICT ARKANSAS

                         IN THE UNITED STATES DISTRICT COURT         FEB 10                      2012
                             EASTERN DISTRICT OF ARKANSAS
                                 LITTLE ROCK DIVISION         JAMES W. McC
                                                             .By:         ..
GARY REECE, for himself and all other Arkansas
residents similarly situated

v.                                    cAsE No.     4,·J z-c   v- oq 1 £3SM
THE BANK OF NEW YORK, MELLON                                                       DEFENDANT
AS TRUSTEE FOR CIT MORTGAGE LOAN
TRUST 2007-1




         Named defendant "The Bank of New York Mellon as Trustee for CIT Mortgage Loan

Trust, 2007-1" appears by and through Vericrest Financial, Inc. as Servicer and Attorney in

Fact ("Vericrest") for The Bank of New York Mellon f/k/a The Bank of New York, a New

York banking corporation, in its capacity as Trustee for CIT Mortgage Loan Trust 2007-1

("Trustee"), and for its notice of removal pursuant to 28 U.S.C. §§1441, 1331, and 1332,

states as follows:

         1.      On October 15, 2010, plaintiff Gary Reece ("Reece") along with Sherri Wood

commenced an action in the Circuit Court of Pulaski County, Arkansas, Fifth Division,

entitled Gary Reece or Sherri Woods and/or Occupants of 1015 North Mississippi Little Rock,

AR 72207 v. The Bank of New York, Mellon as Trustee for Cit Mortgage Loan Trust 2007-1,

Case No. 60CV-2010-5926, by the filing of a complaint for temporary restraining order (the

"Original Complaint").

         2.      The Original Complaint sought only equitable relief under Arkansas law.

         3.      Co-plaintiff Sherri Wood later dismissed all of her claims without prejudice.




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              Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 2 of 95




         4.      On January 18, 2012, Reece filed a First Amended Class Action Complaint (the

"Amended Complaint") which raised new issues and requested different relief from the

Original Complaint which only sought equitable relief.

         5.      In the Amended Complaint, Reece alleges he is an individual resident of the

State of Arkansas.

         6.      The putative class of plaintiffs is described as

                 All residents of the State of Arkansas who were subject to non-
                 judicial foreclosure proceedings initiated by BNY Mellon within
                 the State of Arkansas in the past five years immediately preceding
                 the filing of the original class action complaint up to and through
                 the date of judgment in this case. Excluded from the Class are
                 Defendants, its officers and directors, agents, and employees.

         7.      Vericrest and Trustee are foreign business entities with principal places of

business in states other than Arkansas.

         8.      Reece does not dispute that Trustee's principal place of business is outside the

State of Arkansas.

         9.      This Notice of Removal is filed within thirty (30) days of service of the

Amended Complaint. Copies of all the process, pleadings, and orders that have been received

in this case are attached hereto as Exhibit 1.

         10.     This civil action is removable pursuant to the provisions of28 U.S.C. §1441

because Vericrest and Trustee are not citizens of the State of Arkansas where the plaintiff

resides, as well as where all members of the putative plaintiff class reside.

         11.     This Court has original jurisdiction over this civil action under 28 U.S.C. §1332

because it is between citizens of different states and the amount in controversy exceeds

$75,000.00 exclusive of interest and costs.



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             Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 3 of 95




         12.    Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because the

United States District Court for the Eastern District of Arkansas, Little Rock Division,

embraces the Circuit Court of Pulaski County, Arkansas, where this action was first filed.

Trustee, however, reserves the right to file a motion to transfer this case to another venue if

appropriate pursuant to 28 U.S.C. § 1404(a), and does not waive its right to do so.

         13.    Pursuant to 28 U.S.C. §1446(d), notice of the filing of this Notice of Removal

will be provided to Reece and a copy of this notice, without exhibits, will be filed with the

Clerk of the state court in which this action was originally filed.

         14.    Trustee is not incorporated in the State of Arkansas, nor does it have a principal

places of business in the State of Arkansas. There is, therefore, complete diversity between

plaintiff(s) and defendant under 28 U.S.C. § 1332(c)(1).

         15.    In the Amended Complaint, Reece seeks judgment against Trustee for

compensatory damages, treble damages, and punitive damages payable to the putative class in

an unspecified amount that will exceed the minimum for federal diversity jurisdiction.

         16.    Reece also seeks to invalidate all of Trustee's statutory foreclosures within the

State of Arkansas and to force Trustee to disgorge all sums received by Trustee in connection

with said foreclosures, which amount would far exceed the minimum for federal diversity

jurisdiction.

         17.    Reece also seeks to prevent Trustee from enforcing its mortgage interest in

Reece's property, which property secures a debt of with a principal balance of approximately

$139,000.00 owed by Reece.




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             Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 4 of 95




         18.    Thus, for all of these reasons the amount in controversy exceeds the $75,000.00

minimum for federal diversity jurisdiction.

         19.    In addition, all of Reece's claims appear to hinge on the question of whether

Trustee is authorized to do business in the State of Arkansas as alleged to be required by the

Arkansas Statutory Foreclosure Act.

         20.    Because Trustee is a federally-regulated company, the questions of whether

Trustee is authorized to do business in Arkansas and whether federal law controls here are

questions of federal law.

         21.    Thus, under 28 U.S.C. § 1441, this civil action is removable because the Court

has original jurisdiction pursuant to 28 U.S.C. § 1331 over Reece's claims, which arise under

the laws of the United States.

         22.    The undersigned states that this removal is well grounded in fact and is

warranted by existing law, and is not interposed for an improper purpose.

         WHEREFORE, this state court action is removed from the Circuit Court of Pulaski

County, Arkansas to this Court, and this Court should take jurisdiction of this civil action to

the exclusion of any further proceedings in the state court.




1109305-vl                                       4
                  Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 5 of 95
,,



                                           Respectfully submitted:

                                           WRIGHT, LINDSEY & JENNINGS LLP
                                           200 West Capitol Avenue, Suite 2300
                                           Little Rock, Arkansas 72201-3699
                                           (501) 371-0808
                                           FAX: (501) 376-9442
                                           E-MAIL: jhenry@wlj.com
                                                      ajung@wlj .com



                                           By~t~J~
                                                J oy Si    ons Henry (840 9)
                                                Adrienne L. Jung (2007159)
                                                Attorneys for Vericrest Financial, Inc. as
                                                Attorney in Fact for The Bank of New York
                                                Mellon f/k/a The Bank of New York, a New
                                                York banking corporation, in its capacity as
                                                Trustee for CIT Mortgage Loan Trust 2007-1




     1109305-vl                                 5
                  Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 6 of 95
..

                                     CERTIFICATE OF SERVICE

             I hereby certify that on February 10, 2012, a copy of the foregoing was sent by United

     States mail to the following:

     Scott E. Poynter                                   Todd Turner
     Chris D. Jennings                                  Dan Turner
     Will T. Crowder                                    ARNOLD, BATSON, TURNER&
     Corey D. McGaha                                    TURNER, P.A.
     EMERSON POYNTER LLP                                501 Crittenden Street
     500 President Clinton Ave., Ste. 305               P.O. Box 480
     Little Rock, AR 72201                              Arkadelphia, AR 71923

     John G. Emerson                                    Kathy A. Cruz
     EMERSON POYNTER LLP                                THE CRUZ LAW FIRM
     830 Apollo Lane                                    1325 Central Avenue
     Houston, TX 77058                                  Hot Springs, AR 71901

     Joel Hargis                                        SamuelS. High
     CRAWLEY DELOACH & HARGIS                           WILSON & ASSOCIATES, PLLC
     533 West Washington                                1521 Merrill Drive, Suite D-220
     Jonesboro, AR 72401                                Little Rock, AR 72211




     1109305-vl                                     6
             Case
-Not an Official   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 7 of 95 Page 1 of 11
                 Document


Report Selection Criteria

 CaseiD:             60CV-1 0-5926
 Citation No:
 Docket Start Date:
 Docket Ending Date:


Case Description

 Case ID:        60CV-1 0-5926- GARY REECE ET AL V THE BANK OF NEW YORK
 Filing Date:    Friday , October 15th, 2010
 Type:           FC - FORECLOSURE
 Status:         none
 Images:



Case Event Schedule

!,vent                  ~e/T~~om                    Location Judge
 OTHER HEARING 02/22/2011 COURTROOM CIRCUIT HON. WENDELL GRIFFEN- 5T.
               10:30 AM   410, 5TH
                          DIVISION
 REPORT/STATUS 07/29/2011 COURTROOM CIRCUIT HON. WENDELL GRIFFEN- 5T.
               01:30PM    410, 5TH
                          DIVISION
 REPORT/STATUS 11/04/2011 COURTROOM CIRCUIT HON. WENDELL GRIFFEN- 5T.
               09:00AM 410, 5TH
                          DIVISION
 TRIAL                  05/11/2012 COURTROOM CIRCUIT HON. WENDELL GRIFFEN- 5T.
                        10:00 AM   410, 5TH
                                   DIVISION


Case Parties

 Seq             End
        As soc          Type                              ID          Name
    #            Date
    1                   JUDGE                             7965388     HON. WENDELL
                                                                      GRIFFEN - 5TH
                                                                      DIVISION 6TH CIRCUIT
                                                           Aliases: none



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                                                                                        1
             Case
-Not an Official   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 8 of 95 Page 2 ofll
                 Document



u       (501)340-
        8550                                                             I                        I
                                                                                                  I
D                      PLAINTIFF                          3431433 I REECE, GARY LEE               I
                                                             Aliases:    Inone                    I

    3                  PLAINTIFF                             10612364 WOODS, SHERRI
                                                              Aliases:   none


    4                  PLAINTIFF                          10612366 OCCUPANTS OF 1015
                                                                             NORTH MISSISSIPPI
                                                              Aliases:   none


    5                  DEFENDANT                          10612368 THE BANK OF NEW
                                                                         YORK, MELLON AS
                                                                         TRUSTEE FOR CITI
                                                                         MORTAGE
                                                              Aliases:   none


[jCD                   PLAINTIFF/PETITIONER
                       ATTORNEY
                                                             1004083     CRUZ, KATHY A


                                                              Aliases: CRUZ, KATHY A.
                                                                       CRUZ, KATHY


ITTI                   DEFENDANT/RESPONDENT
                       ATTORNEY
                                                             1007395         HIGH, SAMUEL SCOTT


                                                              Aliases: HIGH, SAMUELS.


    8                  PLAINTIFF/PETITIONER              11008003        ~HARGIS, JOEL GRANT
                       ATTORNEY
                                                                                                  I
                                                         I    Aliases: I HARGIS, JOEL G           I

    9                  PLAINTIFF/PETITIONER                  8006604         EMERSON, JOHN G.
                       ATTORNEY
                                                              Aliases:       none


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              Case
- Not an Official   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 9 of 95 Page 3 of 11
                  Document




  10
              D        PLAINTIFF/PETITIONER
                       ATTORNEY
                                                             1004697

                                                              Aliases:
                                                                           POYNTER, SCOTT E

                                                                           none



criJ                   PLAINTIFF/PETITIONER
                       ATTORNEY
                                                             1008396       JENNINGS,
                                                                           CHRISTOPHER DURAN
                                                              Aliases: I none
                                                                                                  I

~D PLAINTIFF/PETITIONER                                      1007909       CROWDER, WILLIAM
                       ATTORNEY                                            THOMAS
                                                              Alia~ I CROWDER, WILLIAM T


   13                  PLAINT! FF/PETITION ER                1007817       MCGAHA, COREY
                       ATTORNEY                                            DARNELL
                                                         I Aliases: I none                        I

   14                  PLAINTIFF/PETITIONER                  1005256       TURNER, TODD
                       ATTORNEY                                            MARTIN
                                                                           TURNER, TODD
                                                         I    Aliases: I
                                                                           MARTIN
                                                                           TURNER, TODD



[j                     PLAINT! FF/PETITION ER
                       ATTORNEY
                                                             1006553       TURNER, DANIEL
                                                                           ODELL
                                                              Ali          TURNER, DAN



L[JJPLAINTIFF                                            I11019542         GARY REECE FOR ALL
                                                                           OTHER AR RESIDENTS
                                                                           SIMILARLY SITUATED
                                                              Aliases:     none



Violations




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              Case
- Not an Official   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 10 of 95Page 4 ofll
                  Document




Sentence

No Sentence Info Found.




Docket Entries

    Filing
              Description                         Name                                Monetary
    Date
    10/15/2010 MOF ORIGINAL
    02:45PM
    Entry:    none.
    Images    No Images


    10/15/2010 COMPLAINT/PETITION FILED $
    02:45PM
    Entry:    none.
    Images    WEB


    10/15/2010 SUMMONS ISSUED
    02:45PM
    Entry:    none.
I   Images    No Images


    10/15/2010 AFFIDAVIT FILED
    02:47PM
    Entry:    AFFIDAVIT IN SUPPORT OF TEMPORARY RESTRAINING ORDER:DEF
    Images    No Images


    10/18/2010 PAYMENT RECEIVED
    03:35PM
    Entry:    A Payment of -$165.00 was made on receipt 60CI24765.



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            Case
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                 Document



Images            No Images


10/18/2010 ORDER OTHER
04:40PM
 Entry:           ORDER FOR TEMPORARY RESTRAINING ORDER CV.5.2010.965
 Images           CV.5.201 0.965


 11/16/2010 ANSWER FILED                               HIGH, SAMUEL SCOTT
 04:02PM
                  ANSWER TO PLAINTIFF'S COMPLAINT FOR TEMPORARY RESTRAINING
 Entry:
                  ORDER:DEF
 Images           WEB                             I

 11/23/2010 TRIAL ACKNOWLEDGED
 08:39AM
    Entry:        SIGNED BY SAMUEL SCOTT HIGH ON 11/29/10
 Images           WEB


 11/24/2010 LETTER TO COURT
 01:50PM
    Entry:   II LETTER TO COURT C/0 MS HALL SAMMY HIGH DATE: NOV 16,2010
    Images        WEB                             I
    12/02/2010 TRIAL ACKNOWLEDGED                      CRUZ, KATHY A
    04:33PM
    Entry:        ACKNOWLEDGED ABY KATHY A CRUZ ON NOVEMBER 29TH
I Images     I wEB                                I

    12/06/2010 TRIAL ACKNOWLEDGED
    10:12 AM
                                            II                                      I
I Entry:          SIGNED BY KATHY A CRUZ ON 12/7/10
I Images          WEB
                                                  I
             ,,
I                                                 II                                I


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             Case
-Not an Official   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 12 of 95Page 6 of 11
                 Document



 12/09/2010 I MOTION CONTINUANCE                  II CRUZ, KATHY A
 11:29 AM
                                                                                    I              I
 Entry:       PLF
I Images     I WEB                                I

 12/09/2010 ORDER ON MTN CONTINUE
 11:29 AM
 Entry:       ORDER GRANTING MOTION TO CONTINUANCE CV.5.2010.1175
 Images       CV.5.201 0.1175


 02/17/2011 ENTRY OF APPEARANCE                       HARGIS, JOEL GRANT
 11:04 AM
 Entry:       none.
 Images       WEB


 02/22/2011 JUDGE NOTE
 12:12 PM
              Rule 65 hearing to consider whether to maintain temporary restraining order in
              non-judicial foreclosure. Attorney's Joel Hargis and Kathy Cruz for plaintiff.
              Samuel Scott High for Defendant. Plaintiff challenges standing of Defendant to
              effect non-judicial foreclosure based on question about whether Defendant
              stands in privity with mortgagee and whether mortgage was properly assigned
 Entry:       to Defendant, question Defendant's legal authority to do business in Arkansas,
              and urge that TRO remain in effect. Defendant introduces Exhibits A, B, C, and
              D to address privity issues, and suggests that Plaintiff make mortgage
              payments to the registry of Court in lieu of posting bond per Rule 65{d). Issue
              taken under advisement. Written ruling to follow on or before February 26,
              2011.
I Images     I No Images                          I

 02/23/2011 ENTRY OF APPEARANCE                       HARGIS, JOEL GRANT
 03:24PM
 Entry:       ORIGINAL COPY
 Images       WEB


 02/25/2011 ORDER OTHER
 04:18PM



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              Case
- Not an Offi ;:ial   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 13 of 95Page 7 ofll
                    Document



              ORDER- TEMPORARY RESTRAINING ORDER ENTERED ON OCT 18,2010
              BE STAYED UNTIL THE NEXT HEARING ON THE MERITS OF THIS CASE
 Entry:
              AND WHETHER A PERMANENT INJUNCTION SHOULD BE GRANTED
              CV.5.2011.178
I Images     I CV.5.2011.178                     I

 03/07/2011 PAYMENT RECEIVED
 01:39PM
 Entry:       none.
 Images       No Images


 03/22/2011 TRIAL ACKNOWLEDGED
 12:18PM
 Entry:       SIGNED BY KATHY A CRUZ ON 3/16/11
I Images     I wEB                                I

 03/29/2011 MOTION CONTINUANCE                        HIGH, SAMUEL SCOTT
 12:29 PM
 Entry:       DEF
 Images       WEB


 03/29/2011 TRIAL ACKNOWLEDGED
 02:51 PM
 Entry:       SIGNED BY JOEL GRANT HARGIS ON 3/17/11
 Images       WEB


 04/04/2011 TRIAL ACKNOWLEDGED
 03:49PM
I Entry:     I SIGNED BY SAMUEL SCOTT HIGH ON 3/16/11
I Images     I wEB                                I

 04/13/2011 TRIAL ACKNOWLEDGED
 11:47 AM
 Entry:       SIGNED BY JOEL GRANT HARGIS ON 4/7/11



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            Case
-Not an Official   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 14 of 95Page 8 ofll
                 Document



jlmages      I wEB                                I

04/26/2011 ORDER ON MTN CONTINUE
08:13AM
 Entry:       ORDER FOR CONTINUANCE GRANTED CV.5.2011.403
 Images       CV.5.2011.403



 06/13/2011 MOTION CONTINUANCE                        HIGH, SAMUEL SCOTT
 03:08PM
 Entry:       DEF
 Images      IwEB                                 I

 06/14/2011 PAYMENT RECEIVED
 01:52PM
 Entry:       none.
~age          No Images


             I
 07/12/2011 ORDER ON MTN CONTINUE
 08:21AM
  ntry:      IORDER FOR CONTINUANCE CV.5.2011.859
                                                  I                                 !              I
                                                                                                   I
 Images      ICV.5.2011.859           I

 07/13/2011 TRIAL ACKNOWLEDGED                        HARGIS, JOEL GRANT
 01:00AM
 Entry:          EPORT/STATUS ACKNOWLEDGED BY JOEL HARGIS ON JULY 12,2011
 Images       WEB


 07/19/2011 LETTER TO COURT                           CRUZ, KATHY A
 03:43PM
              JULY 13,2011 RE: ACKNOWLEDGMENT OF STATUS HEARING TO:
 Entry:       SHANNON ROBINSON FROM: JIMMIE L. GREEN PARALEGAL TO KATHY A
              CRUZ
 Images       WEB




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- Not an Official   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 15 of 95Page 9 ofll
                  Document




 07/29/2011 JUDGE NOTE
 11:50 AM
                  Kathy Cruz appears for pltf and Sammy High appears for dft in this foreclosure
                  case. They report that negotiations are underway and that they need a status
 Entry:
                  conference in three months. They will check with LaShannon Robinson for
                  status conference date.                                                       /




 Images           No Images


 08/18/2011 LETTER TO COURT                               HIGH, SAMUEL SCOTT
 08:39AM
                  AUGUST 1, 2011 RE: THIRTY MINUTE HEARING TO: SHANNON ROBINSON
 Entry: .
                  FROM: SAMMY HIGH
 Images           WEB



 08/19/2011 TRIAL ACKNOWLEDGED                            HIGH, SAMUEL SCOTT
 03:48PM
                  REPORT/STATUS NOVEMBER 4, 2011 AT 9AM ACKNOWLEDGED BY
 Entry:
                  SAMUEL HIGH
 Images           WEB


 08/24/2011 TRIAL ACKNOWLEDGED
 11:00AM

 Entry:
                                                     IHARGIS, JOEL GRANT
                  REPORT/STATUS NOVEMBER 4, 2011 AT 9AM ACKNOWLEDGED BY JOEL
                                                                                      I             I
                  HARGIS ON AUGUST 23, 2011
 Images           WEB



 11/04/2011 JUDGE NOTE
 09:09AM
                                                                                       I            I
                  Joel Hargis, Kathy Cruz, and Sammy High appear for the parties to report on
                  status. Good faith negotiations have not resulted in settlement. Bench trial is
 Entry:           requested. Counsel believe that 1 day will be enough. Trial set for Friday,
                  January 27, 2012, 9 a.m. Motion cutoff is Monday, Dec. 27, 2011. Parties to
                  inform Court nit Friday, Jan. 6, 2012 whether pretrial is needed.
 Images           No Images



             II                                      II                               II


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            Case
-Not an Official   4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 16 of 95
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12/29/2011 I MOTION DISMISS
04:09PM
Entry:        MOTION TO DISMISS WITHOUT PREJUDICE
                                                 I REECE, GARY LEE
                                                                                  I              I

Images        WEB                                I
01/09/2012 JUDGMENT-DISMISS W/0                      WOODS, SHERRI
01:28PM    PREJUDICE
I Entry:      ORDER OF DISMISSAL WITHOUT PREJUDICE CV.5.2012.43
 Images      ICV.5.2012.43                       I

01/09/2012 MOD DISMISS W/0                           WOODS, SHERRI
01:28PM    PREJUDICE
 Entry:       TRIAL TYPE: N
 Images      INo Images                          I
01/18/2012 AMENDED COMPLAINT                         REECE, GARY LEE
11:16 AM
                                                                                   I             I
 Entry:       FIRST AMENDED CLASS ACTION COMPLAINT
 Images       WEB



 01/18/2012 ENTRY OF APPEARANCE                      REECE, GARY LEE
 11:16 AM
                                                                                   I             I
~try:         NOTICE OF APPEARANCE ON BEHALF OF PLAINTIFFS
 Images       WEB



 01/20/2012 MOTION OTHER                             THE BANK OF NEW YORK,
 03:56PM                                             MELLON AS TRUSTEE FOR
                                                     CITI MORTAGE,
              MOTION TO STRIKE PLAINTIFF'S AMENDED COMPLAINT OR IN THE
 Entry:
              ALTERNATIVE FOR A CONTINUANCE
 Images      IwEB                                I

 01/20/2012 BRIEF IN SUPPORT                         THE BANK OF NEW YORK,
 03:56PM                                             MELLON AS TRUSTEE FOR



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            Case
-Not an Official  4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 17 of 95
                 Document                                                 Page 11 of 11



I            I                                    llciTI MORTAGE,                   I              I


EJ
I Images
                 DEFENDANT'S BRIEF IN SUPPORT OF ITS MOTION TO STRIKE
                 PLAINTIFF'S AMENDED COMPLAINT OR IN THE ALTERNATIVE FOR A
                 CONTINUANCE

             I wEB                                I

    01/31/2012 ORDER ON MTN CONTINUE                  REECE, GARY LEE
    08:56AM
    Entry:   ~DER FOR CONTINUANCE CV.5.2012.112
    Images          6.2o12.112                    1




    01/31/2012 LETTER TO COURT                        HIGH, SAMUEL SCOTT
    12:07 PM
                                                                                     I             I
                 JANUARY 24,2012 RE: PROPOSED ORDER OF CONTINUANCE TO:
    Entry:
                 JUDGE GRIFFEN FROM: SAMMY HIGH
    Images   IwEB                                 I

    02/08/2012 TRIAL ACKNOWLEDGED                     TURNER, TODD MARTIN
    01:30PM
                 TRIAL MAY 11,2012 AT 10AM ACKNOWLEDGED BY TODD MARTIN
    Entry:
                 TURNER ON 01/30/12
    Images       No Images                        I




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              Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 18 of 95



              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                CIVIL DIVISION

GARY REECE OR SHERR! WOODS
AND/OR OCCUPANTS OF
                                                                   5TH DIVISION
1015 NORTH MISSISSIPPI
LITTLE ROCK, AR 72207·
vs.
                                    oC v  ') n 0
                                   6 cAS-lN<Y: 1                      5920FFS


                                                                       FILED 10/15/10 14:46:1~
THE BANK OF NEW YORK, MELLON                                           Pat o•Brien Pulaski Circuit Clerk
AS TRUSTEE FOR CIT MORTGAGE                                            IJH
LOAN TRUST 2007-1                                                          DEFENDANTS

                COMPLAINT FOR TEMPORARY RESTRAINING ORDER

         WHEREAS, the Plaintiff, Gary Reece, by and through his attorney, Kathy A Cruz,

the Cruz Law Firm, P.L.C., and for his Complaint for Temporary Restraining Order

against the Defendant, states:

         1.   This Court has both jurisdiction over the parties and subject matter, and venue

is proper in this County.

         2.    Plaintiff was informed by letter, dated August 25, 2010, that his property,

located at 1015 North Mississippi, Little Rock, Arkansas 72207, was going to be sold at

public auction on October 19, 2010 at 3:30 p.m ..

         3. Plaintiff has been in negotiations with Vericrest for a substantial period of

time to get a correct statement of the current amounts due. Plaintiff has previously sent

the amounts demanded by Vericrest, only to have those checks returned with demands

for additional amounts. Plaintiff has yet to be able to determine what amount would be

necessary to satisfy Vericrest.

         4· Plaintiff respectfully request that this Complaint be granted so that he is

allowed to stay in the home until he is able to come before this Court and have his case
                                                                                       ··-··

heard.                                                                     llllllllllllllllll\11111111111111111 1111111111111
                                                                          60CV-10-5926           601-60100099161-039
                                                                          GARY REECE ET AL VTHE           B~NK     4 Pages
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                                                                          CIRCUIT COURT                               OC05$
       s.
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            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 19 of 95



            Plaintiff also has stated in his Affidavit that the moving party, represented by

Wilson and Associates P.L.L.C., is unknown to the Plaintiff, and that the Plaintiff

believes that the moving party has no legal right or capacity to proceed, as no moving

party named is in privity of contract with the Plaintiff. Therefore, there is a necessary

party missing from the action under Arkansas Code Annotated 18-50-101 et. seq.

       6. The Plaintiff will suffer irreparable harm if the Court does not grant his

Complaint. The Plaintiff will be put out on the street, and the Plaintiff will lose all his

equity in a home that he thought was his, but is now being sold by strangers. No

damage will result to the Defendants, as upon information and belief, the Defendants

·are not in privity of contract with the Plaintiff, and have no capacity or power to act

under Arkansas Code Annotated 18-50-101 et.seq.

       7· The Plaintiff will likely succeed in having the sale cancelled until all proper

parties are joined and are in privity of contract with the Plaintiff.

       8. The public interest in allowing the Plaintiff the ability to come before the

Court to save his home weighs heavily in favor of the entry of a Tem:Porary Restraining

Order in favor of the Plaintiff.

       WHEREFORE, Plaintiff requests his Complaint for Temporary Restraining Order

be granted, allowing the Plaintiff to remain at his residence of 1015 North Mississippi,

Little Rock, Arkansas 72207, until a hearing before the Court can be scheduled, and for

all other relief to which he is entitled.

                                                   Respectfully submitted,
                                                   GARY REECE, Plaintiff

                                            By:____,._:'~=-·'~~~---
                                                   Katl#A.Cruz
                                               2
Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 20 of 95



                                  Arkansas Bar ID No. 87079
                                  THECRUZLAWFIRM
                                  1325 Central Avenue
                                  Hot Springs, AR 71901
                                  501-624-3600 (telephone)
                                  501-624-1150 (facsimile)
                                  kathy@cruzlaw.com
                                  Board Certified in Consumer Bankruptcy
                                  Law by the American Board of Certification




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                                 Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 21 of 95
---!'!!!Mti!ll.ltiple claims. If a complaint asserts multiple claims which Involve different subject matter divisions of the
         circuit court, the cover sheet for that division which Is most definitive of the nature of the case should be
     selected and completed.
                                                                                COVER SHEET                                                    To Save a copy of this form to your
                                                                                                                                               computer, please click the disk Icon
                                                                             STATE OF ARKANSAS                                                 on the toolbar above.
                                                                             CIRCUIT COURT: CIVIL
     The civil reporting form and the information contained herein shall not be admissible as evidence in any court proceeding
     or replace or supplement the filing and service of pleadings, orders, or other papers as required by law or Supreme Court
     Rule. This form is required pursuant to Administrative Order Number 8. Instructions are located on the back of the form.
                                                                                      FILING INFO~MATION
     County: Pulaski                                                                  District: -.....~oo~<.t:J...,.___ Docket Number: CV                  {p(X/flJ-5'3Qto
     Judge:         ~«~~)                                                             Division·__        ,,_l:)......___   Filing Date:          /()j l5j.:Jo;()
                                                                                                                      The Bank of New York Mellon as Trustee fur CIT Mortgage Loan Trust2007-1
     Plaintiff: Gary Reece
                                                                                                         Defendant----------------
     Attorney Providing Information: . . ;K.;. .at.;. .h4Y..;. A. ;.•;....;;C..;..ru.;...z.;......_ __      1325 Central Ave., Hot Springs, AR 71901
    'R._Piaintiff    o Defendant c Intervenor                                                              Address

     Litigant, if ProSe: - - - - - - - - - - - -
                                                         Address
     Related case(s): J u d Q a - - - - - - - - - - -    Case Number(s) - - - - - - - - - - - - -
     Type of Case:
     Torts                              Equity                             Miscellaneous
     0 (NM) Negligence: Motor Vehicle   ~ (FC) Foreclosure                 o (CD) Condemnation
     0 (NO) Negligence: Other           0 (QT) Quiet Title                 0 (RE) Replevin
     0 (BF) Bad Faith                   o (IJ} Injunction                  0 (OJ} Declaratory Judgment
     0 (FR) Fraud                       o (PT) Partition                   0 (UD) Unlawful Detainer
     o (MP) Malpractice                 o (OT) Other ________              0 (IN) Incorporation
     0 (PL) Product Liability                                              0 (EL) Election
     0 (00) Other----------------                                          o (FJ) Foreign Judgment
     Contracts                                                             o (Wl1 Wrlts~-----
     0 (IS} Insurance                                                      o {M) Administrative Appeal
     0 (DO) Debt Open Account                                              0 (CF) Property Forfeiture
     0 (PN) Debt Promissory Note                                           o (RD) Remove Disabilities
     o (EM) Employment                                                     0 (NC) Name Change
     o (OC) Other-----------                                               0 (OM) O t h e r - - - - -
     Jury Trial Requested: 0                       Yes 0 No                                       Manner of Filing:         0       Original 0        Re-open 0            Transfer
                                                                                                                            D Return from Federal/Bankruptcy Court .
                                                                                 DISPOSITION INFORMATION
     Disposition Date:                                                                    0 Bench Trial                                                   0 JuryTrial
       Judgment Type:                                                 Dismissal Type:                                           Other:
       0 {OJ) Default Judgment                                        0 (OW) Dismissed with Prejudice                           0    (TR) Transferred to Another
       D (SJ) Summary Judgment                                        o (ON) Dismissed without                                         Jurisdiction
       0 (CJ) Consent Judgment                                                Prejudice                                         0 (RB) Removed to Bankruptcy Court
       0 (TJ) Trial Judgment                                                                                                    0 (RF) Removed to Federal Court
       0 (OJ} Other Judgment                                                                                                    D (AR) Arbitration
       0 {PG) Petition Granted
       0 (PO) Petition Denied
       D (OF) Decree of Foreclosure
      Judgment For:
       0 Plaintiff 0 Defendant                                0 Both                           Judgment Amount         $-------------
      Clerk's Signature                                                                                  Date
      AOC23 1o-01                                                                                                          send 1 paper or electronic copy to AOC upon filing.
      825 MarshaK Street                                                                                                   Sene! 1 paper or electronic copy to AOC upon disposition.
      LiiUe Rock, AR 72201                                                                                                 Keep original in court lila.


      { Effective 1-1-20021
              Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 22 of 95
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                              GARY REECE ET AL VTHE           BANK~      Pages
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         ·~.
                            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 23 of 95
                                                                                                 cv.5.2010.965

                            IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                      CIVILDIVISJON                           5TH DIVISION
               GARY REECE OR SHERRI WOODS
               AND/OR OCCUPANTS OF                                                   FILEl) 10/1.8/10 16:40:26
                                                                                     Pat     o~Srie~ Pul~ski   Circuit   C12t·~·-
               1015 NORTH MISSISSIPPI                                                !)i R
               LITILE ROCK, AR 72207                                                 ~   . -PLAINTIFFS

               vs.
               THE BANK OF NEW YORK, MELLON
                                                  60 GVN~OIO 5926
               AS TRUSTEE FOR CIT MORTGAGE
               LOAN TRUST 2007-1                                                           DEFENDANTS

                                 ORDER FOR TEMPORARY RFSTRAINING ORDER

                       Comes on this day, the Plaintiff, Gary Reece, to be heard on his Complaint for

               Temporary Restraining Order, supported by Affidavit, for consideration, from which the

               Court, DOES FIND:

                       1.   The Plaintiff is a resident of Pulaski County, Arkansas. Thus, this Court has

               jurisdiction over the subject matter and parties to this action, and venue is proper in this

               County. The Defendants are corporations doing business in Arkansas.

                       2.   The Plaintiff occupies the residence located at 1015 North Mississippi, Little

               Rock, Arkansas 72207, and was notified on August 25, 2010, by Wilson and Associates,

                   .
               P .L.L.C., that his property was going to be sold at public auction on October 19, 2010 at

               3:30p.m ..

                       3· Plaintiff swears under Affidavit that he has no knowledge of contracting with

               ahy named Defendant or borrowing any money from any named Defendant, and that he

               has no knowledge that any named Defendant currently holds a mortgage on his

               ·property.

                       4· Plaintiff states that he has been in contact with Defendants, and despite his

               best efforts, Defendants have refused to·cancel the sale scheduled for October 19, 2010.
                   Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 24 of 95
:   ..

                 5· The Court now finds that the Plaintiff will be denied his opportunity to come

         before the Court and be heard if his property is sold on October 19, 2010.

                 6. The Court finds that the Plaintiff will suffer irreparable hann if the Court does

         not grant his Temporary Restraining Order, because Plaintiff will be put out on the

         street and lose any equity in his home by parties the Plaintiff alleges have no interest in

         the property located at 1015 North Mississippi, Little Rock, Arkansas 72207.

                7. The Plaintiff would likely succeed in having any sale set aside for lack of privity

         of contract and capacity to sell of the Defendants. Therefore, the public interest in

         allowing the Plaintiff the ability to come before the Court to save his home he now

         occupies weighs heavily in favor of the entry of a Temporary Restraining Order in favor

         of the Plaintiff.

                THEREFORE, the Plaintiffs request for a Temporary Restraining Order is hereby

         granted, and the Defendants are temporarily enjoined from conducting a sale of the

         Plaintiff's property located at 1015 North Mississippi, Little Rock, Arkansas 72207, until

         further orders of this Court.



                                                                 ~~ ~
                IT IS SO ORDERED.


                                                                  Cil'cuit Judge

                                                                  Entered: -~'O~l--l...12..L...f-1({~6.____
         Respectfully submitted,
         Gary Reece
         1015 North Mississippi
         Little Rock, AR 72207




                                                      2
                             Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 25 of 95
I   #   •1..'




~
                               IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                                 CIVIL DIVISION

                GARY REECE OR SHERRI WOODS
                                                                 5~
                AND/OR OCCUPANTS OF
                1015 NORTH MISSISSIPPI
                LITTLE ROCK, AR 72207                                                                  PLAINTIFFS

                vs.                                    CASE NO: 60CV 2010 5926
                                                                                            FILED 11/16/iO 16:02:28
                                                                                           ~~ O'Brien Pulaski Circuit Clerk
                THE BANK OF NEW YORK, MELLON
                AS TRUSTEE FOR CIT MORTGAGE
                LOAN TRUST 2007-1                                                                    DEFENDANTS


                                        ANSWER TO PLAINTIFF'S COMPLAINT FOR
                                           TEMPORARY RESTRAINING ORDER


                       COMES NOW Defendant, The Bank of New York, Mellon as Trustee for Cit Mortgage Loan

                Trust 2007-1, by and through its attorney Samuel High/Wilson & Associates, P.L.L.C., and for its

                Answer to Plaintiffs' Complaint for Temporary Restraining Order, states as follows:

                        1.      Defendant admits the allegations in Paragraph 1 of Plaintiffs' Complaint

                       2.       Defendant admits the allegations in Paragraph 2 of Plaintiffs' Complaint.

                       3.       Defendant is without knowledge or information sufficient to form a belief as to the

                truth of the entirety of the last allegation set forth in Paragraph 3 of Plaintiffs' Complaint and,

                therefore, denies the same. Defendant denies the remaining allegations in Paragraph 3.

                        4.      Defendant is without knowledge or information sufficient to fonn a belief as to the

                truth of the entirety of the allegations set forth in Paragraph 4 of Plaintiffs' Complaint and, therefore,

                denies the same.

                        5.      Defendant denies the allegations in Paragraph 5 ofPlaintiffs' Complaint.

                        6.      Defendant denies the allegations in Paragraph 6 of Plaintiffs' Complaint.

                        7.      Defendant denies the allegations in Paragraph 7 ofPlaintiffs' Complaint.
                  Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 26 of 95
.'   .'J




             8.        Defendant denies the allegations in Paragraph 8 of Plaintiffs' Complaint.

            9.         Defendant generally and specifically denies any and all allegations in Plaintiffs

     Complaint not specifically admitted to herein.

             10.       Defendant reserves the right to amend this Answer and to plead further by way of

     counter-claim, cross-claim, third party claim, or otherwise.

             11.       Defendant reserves the right to affirmatively plead or assert further defenses and/or

     objections that may be applicable pursuant to Rule(s) 8 and/or 12 (specifically Ark. R. Civ. P.

     12(b}) of the Arkansas Rules of Civil Procedure, or other applicable law.

             12.       At this time, reserving the right to plead further, Defendant pleads the following

     affirmative defenses: estoppel; failure of consideration; failure to state sufficient facts upon which

     relief can be granted; insufficiency of process; insufficiency of service of process; failure to

     comply with Ark. R. Civ. P. 1O(d}; and failure to meet the requirements of Ark. R. Civ. P. 65.

             13.       Defendant affirmatively asserts that Plaintiffs were and are in default under the

     terms of the mortgage in question because they failed to make the required payments, resulting in

     the commencement of a statutory fo~losure pursuant to A. C.A. § 18-50-1 OJ, et seq.

             14.       Pleading in the affirmative, Defendant respectfully submits that if the injunction is

     allowed to stand until further proceedings may be had, Plaintiffs should be required to remit their

     present monthly mortgage payment (of approximately $1, 178.03) into the Registry of the Court, in

     lieu of a bond.

             WHEREFORE, Defendant prays that Plaintitrs Complaint be dismissed and that the

     Plaintiffs take nothing; in the alternative, that Plaintiffs be required to remit ·their monthly

     mortgage payment into the registry of the Court while any injunction remains pending; that all

     elements of the Plaintiffs prayer for relief be denied; for the right to plead further; for its costs and

     attorney's fees; and for all other just and proper relief to which it is entitled.
.J.,   .
           ..       Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 27 of 95



                                                               Respectfully Submitted,




                                                                            i    001125)
                                                                             ASSOCIATES, PLLC
                                                               1521 Merrill Drive, Suite D-220
                                                               Little Rock, AR 72211
                                                               (501) 219-9388 Telephone
                                                               (501) 219-9458 Facsimile

                                                               Attorney for The Bank ofNew York, Mellon as
                                                               Trustee for Cit Mortgage Loan Trust 2007-1


                                           CERTIFICATE OF SERVICE

                  On this J/i!  day of  ~                    2010, a true copy of the foregoing was served via
           United States Mail, with sufficient postage thereon to ensure delivery, upon:

           Kathy Cruz
           THE CRUZ LAW FIRM
           1325 Central Avenue
           Hot Springs, AR 71901
            .     Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 28 of 95

.. ......
                     HON. ERNEST SANDERS, JR- 5TH DIVISION 6TH CIRCUIT
                                  401 WEST MARKHAM/ROOM 410
                                    LITTLE ROCK, AR 72201
                                    Phone: (501) 340 8550
      Samuel Scott High
      1521 Merrill Dr Ste 220d
      Little Rock, AR 72211




      Case# 60CV-10-S926
      GARY REECE ET AL V THE BANK OF NEW YORK

      OTHER BEARING

      November 23, 2010

      The above-referenced case has been set for OTHER ~NG on Dec mber
      9, 2010 at 08:30AM in the Circuit Court Of Pulaski County, Cou troom
      410, 5th Division.

      It is the                     of the parties/attorneys to notify
                                           who have been inadvertently        ted




      cc:       Kathy Cruz




       Please sign and return a copy to:

      Shannon Robinson, Trial Court Assistant
      HON. ERNEST SANDERS, JR - 5TH DIVISION 6TH CIRCUIT
      401 WEST MARKHAM/ROOM 410
      LITTLE ROCK, AR 72201
       Thank you.
                            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 29 of 95




Wilson & Associates, P.L.L.C.
Attorneys at Law- Teuaessee & Arkansas
1521 Merrill Drive, Suhe 0220
Little Rock, AR 72211
501-219-9388                                                      November 30~ 2010
Fax SOl-219-945&
Internet: www. wilson-assoc. com

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 H..,.JibiJep**
                    ...            Ms. Shannon Robinson
 ...... s. 'BIIeteri-              Pulaski County Trial Court Assistant
 KhlltleriJ D. Bllnette            5th Division
 Allnna Caldwell
 Macy R.W. c.ted                   410 Courthouse, 401 W. Markham St.
 IGmllerly S. Co.k**
 KriltiD.c .....                   Little Rock, AR 72201
 TldCumlllilll••
 Dea-Dorreap
 l..llllieF..,.U
 Joel w. Giddells'"'"              RE:    Gary Reece, et at. v. The Bank ofNew York, Mellon as Trustee for
 Tnwls Gfty
 Mil:bHI Hldllon*
                                          Citi Mortgage Loan Trust 2007-1/ Case No. 60 CV 2010 5926
 RldtHelms**
 Salallellli&lt+
 JayKeadd**                        Dear Shannon:
 ........ Laedleff
 J.oaS.Mupam••
 Aapla MllrliD                             I am in receipt of the Notice of Hearing for December 9, 2010. Enclosed
 H. Kcidl Morrisoa+
 llDbert 11. .,.._.....            is my signed acknowledgement of the same. I understand that opposing counsel
 Maria Nealuu
 Cllristop)er L. Nmer+-            has a conflict on this date and will be ftling a Motion for Continuance. Please
 BialleJ>aaillctllll
  Mamhrdae
                                   allow this letter to confirm that I have no objection. For purposes of resetting the
. J. Skipper Raty+                 hearing, I am unavailable on the following dates: December 10, 13, 16, 29; and
  JelutRou••
  J.P. Wen                         January 12, 13, 18, 19; and February 1, 14, 15, and 16. If you should need
  Lillllll SdlaeHier+
 MaUUw R. SaUdi                    additional conflict ~ please let me know.
 Allnlll Sqvyres+
 Alumaacy 'l'bo.JIIMI•
 SWiie Wallace+                           I am copying Ms. Cruz on this letter so that she may also provide the
 Cllarlls T. Ward, Jr.
 Rltbert M. wa-, Jr.++             court with conflict dates. If you have any questions, or should need any
 Jenirer Wilsoa-llar¥ey+           additional information, please feel free to contact me at anytime. Thank you
 Lue Wolleaba......*
                                   very much for your time.
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 ++AUoilted loa Arllatosu, T -
    _.T_,
 ••A118i111o4;, T -
 • Ofc-..t
 AlledHn.......,ID~
                                                                                 Sincerely,




                                   efm
                                   cc:    Kathy Cruz (via mail and facsimile)
                                 Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 30 of 95



Wilson & Associates, P.L.L.C.                                                                   1111111111111111111111111111111111111111111111111
Attorneys at Law- Teanessee & Arkaasas
1521 Marill Drive, Suite D220                                                                  60CV·10-5926                       601-60100811530-004
Little Rock, AR 12211
SOI-219-9388                                                       November 16,2010
                                                                                               GARY REECE ET RL VT~ BAt« 0 1Page
fax 501·219-9458                                                                               PULASKI CO                          11/24/2010 01:50 P~
lnle:nlet: www.wilsoo-assoc.com
                                                                                               CIRCUIT COURT                                                        FI74
    J _ • ....,......                Ms. La.Tonya Hall
    Reily Bishop**
    llamld s. BlleRr+                Pulaski County Trial Court Assistant                         ?????????????????? ·~'?????????? ??
    KiiD"IIIIIriT D. aun.a.          5th Division                                               ????? ??????'???? ????~! ?????'????'?? ·:~?
    AII'Gil Caldwell
    Miry Rellia C.meel               410 Courthosue, 401 W. Markham St.                         ????????'1'??????????????'???????·':::·?·~;.
    Kimber~,.   s. Ceok**                                                                       ·n????????????????????????????·~·??
    Kristha Cenlell                  Little Rocl4 AR 72201
    TedC.•adlla""                                                                               ?????????????·n????????????????··;~?
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    LcslieFI')'d
    .feel   w. Glddns*"              RE:    Gary Reece~ et al. v. The Bank of New Yo~ Mell~~t~.f9;.;.;.;.;.;;~..;.;.;.;.;~r;·;-;. ;.~.
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    MidJiel Hallaona*
                                            Citi Mortgage Loan Trust 2007-1/ Case No. 60 ~~~~-AA~?~·???????·~··??·??~·-?·?-??;,··7-1
    RkJr. Helms"•                                                                                    FILE[) 11/24./10 13:52:58
    S..ael fli&ltt
    Jay KfllldaD*·                   Dear Ms. Hall:                                          Pat O)Brien Pulaski Circuit Cl~rk
    .JeutllaaLaetllotf
    S.O.S. .........••
                                                                                             D18
                                            On October 18, 2010, the Court entered an Ex Parte Temporary
    ~·-
    H. Keidl MOI'I'i!Nm+
                                     Restraining Order in the above matter. I have filed an Answer.on behalf of the
    RDberi H. Moa**
    Maria~
    Cllrlsropller L l'lllllel+       Defendant, and pursuant to Rule 65, the purpose of this letter is to request an
                                     expedited hearing on the Ex Parte Order. This hearing should require no more
    ·-~
    Mllllhnlue
    J. Sldpper Jt.r+                 than 30 minutes of the Court's time.
    J&lmRoaJI**
    J.P. Sdlers
    Ll... SdllHiiMr+
    Maltllew R. s.dtll
                                             I am unavailable on the following dates: November 19, 23; December 2,
.   ~Sfaayns+                        3, 6, 10, 13, 16 and 29. I am copying opposing counsel on this letter so that she
    .u.a...,. 'l'hnlpsoa
    Sllelle Wllllace+                can coordinate her schedule with that of the Court.
    O..rta T. Ward, Jr.
    Rollert M. Wilsu, Jr.++
    Jelmlfer WU...Ifarver+                  As always, I appreciate your time and assistance, and if you should need
    Laae W4llfellllaqer**
                                     any additional conflict dates, please feel free to contact me at anytime.
    +~lloArb-MdT­
    ++Admittldlll~ T a -
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    -AdlaiUIId ... o r -
                                                                                  Sincerely,
    *Of C.....
    Allllllaw.nolltelllloAibMU
                                                                                  WILSON & ASSOCIATES, PLLC




                                     efm
                                     cc:    Kathy Cruz
          Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 31 of 95



             RON. ERNEST SANDERS, JR - 5TH DIVISION 6TH CIRCUIT
                          401 WEST MARKHAM/ROOM 410
                            LITTLE ROCK, AR 72201
                            Phone: (501) 340 8550
Kathy A    Cruz
Cruz Law Firm
1325 Central Avenue                                       FILED 12102/10 16:33:26
Hot Springs, AR 71901                                     Pat O,Brien Pulaski Circuit Clerk
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Case# 60CV-10-5926                                      Plll.RSKI CO          8RNK 2 Pages
GARY REECE ET AL V THE BANK OF NEW YORK                 CIRCUIT COURT   1210212010 04:33 PH
                                                                                     FID58
OTHER HEARING

November 23, 2010

The above-referenced case has been set for OTHER BEARING on December
9, 2010 at 08:30 AM in the Circuit Court Of Pulaski County, Courtroom
410, 5th Division.

It is the responsibility of the parties/attorneys to notify this
office of any parties/attorneys who have been inadvertently omitted
fromJ'his noti~
      (..~ ~o-~.~-

cc:    Sammy High


Receipt is acknowledged of the above notice this    21-fla day of
      21.,....,_L. .. ,   2 0 .J.L_.


Sign~~~
Please sign and return a copy to:

Shannon Robinson, Trial Court Assistant
HON. ERNEST SANDERS, JR - 5TH DIVISION 6TH CIRCUIT
401 WEST MARKHAM/ROOM 410
LITTLE ROCK, AR 72201
Thank you.
             Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 32 of 95


                         ~ ~H~
"
                                                            U          Z        LAW                           F I R M

                                                          KATHY A. CRUZ
                Arkansas' ONLY Board Certified Attorney in Consumer Bankruptcy Law
                             501/624-3600"' 888/NIP-DEBT {647-3328)
                  www.cruzlaw.com"' 1325 Central Avenue* Hot Springs, AR 71901
                            fax 501/624-1150 email kathy@cruzlaw.com

                                                                            November 30,2010



    Ms. Shannon Robinson
    401  West Markham, Rm. 410
    Little Rock, AR 72201

    Re:   Gary Reece Et. AI. vs. The
          Pulaski Circuit No.:

    Dear Ms. Robinson:

    Enclosed herein, please                                                                               of hearing regarding the above
    referenced matter. I have                                                                              High.

    Please be advised I have                                                                                               filing a Motion for
    Continuance.

    Thank you for your




                                                                            Wendy McClendon
                                                                            Secretary for   A. Cruz

    Enclosure




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                                  Kathy A. Cruz, Atlomey, Board Ceflilied in Conoumer Bankruptcy Law by the AmoriCin Boll<l of
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                                                             KATHY A. CRUZ
                          Arkansas' ONLY Board Certified Attorney in Consumer Bankruptcy Law
                                         501/624-3600 * 888/NIP-DEBT (647-3328}
                            IN'tNW.cruzlaw.com * 1325 Central Avenue* Hot Springs, AR 71901
                                        fax 501/624-1150 email kathy@cruzlaw.com
          "                t!~!ll:,.k    ~-·--·-----~---·.-....,__
                                                                 ..,...j~-----W'li                      _____.,_,- - - ·- - - - · - - - - -
                                                                            December 8, 2010



          Ms. Shannon Robinson                                                                                                           1111111111111111111111111111111111111111111111111
          401 West Markham, Rm. 410                                                                                                   60CV-10-5926             601-68100020109-010
          Little Rock, AR 72201                                                                                                       GARY REECE ET RL VTHE BANK 2 Pages
                                                                                                                                      PULASKI CO               12/06/2010 19:12 AM
          Re:      Gary Reece Et. Al. vs. The .                                                                                       CIRCUIT COURT                          FID58
                   Pulaski Circuit No.:       ·

          Dear Ms. Robinson:

          Enclosed herein, please                                                                                    of hearing regarding the above
          referenced matter. I have                                                                                   High.

          Thank you for your




              Enclosure




                                                                                                               "'!   !I   ·n                   U Ill        a II   I


                                         Kalhy A. C.UZ, AllonJef, Boanl Cortoied in Co1181111l9r B8111o1.Jplcy ~ow by ll1e Amorioan Boord of
                                         Cortlftcatlon. Tt. Cruz Law Firm hoo boon designated a Debt -Agency pUIIIUOIII1!> Tftla 11
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                                         IJoard cstlliod "'"""""" bankruptcy lawyar in Alb.,....
                   Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 34 of 95
..   I




                      HON. ERNEST SANDERS,· JR - 5TH DIVISION 6TH CIRCUIT
                                   401 WEST MARKHAM/ROOM 410
                                     LITTLE ROCK, AR 72201
                                     Phone: (501) 340 8550

         Kathy A   Cruz
         Cruz Law Firm
         1325 Central Avenue
         Hot Springs, AR 71901




         Case# 60CV-10-5926
         GARY REECE ET AL V THE BANK .OF NEW YORK

         OTHER HEARJ:HG

         pecernber 6, 2010

         The above-referenced case has been set for OTHER HEARING on February
         22, 2011 at 10:30 AM in the Circuit Court Of Pulaski County, Courtroom
         410, 5th Division.

         It is the responsibility of the parties/attorneys to notify this
         office of any parties/attorneys who have been inadvertently omitted
         fro~is notice .

                .........t ~~~-.!......~.
         cc:   Samuel High


         Receipt is acknowledged of the above notice this    74    day of
          ,JPeet /......      ,   20.J.JL_.


         Si~*~
         Please sign and return a copy to:

         Shannon Robinson, Trial Court Assistant
         HON. ERNEST SANDERS, JR - 5TH DIVISION 6TH CIRCUIT
         401 WEST MARKHAM/ROOM 410
         LITTLE ROCK, AR 72201
         Thank you.
"                   Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 35 of 95



                  IN THE CIRCUIT COURT OF PUlASKI COUNTY, ARKANSAS
                                     DIVISIONV

    GARY REECE OR SHERR! WOODS
    AND/OR OCCUPANTS OF
    1015 NORTH MISSISSIPPI
    LfiTLE ROCK, AR 72207

    vs.                                                        CASE NO: CV-2010-5926

    THE BANK OF NEW YORK, MELLON
    AS TRUSTEE FOR CIT MORTGAGE
    LOAN TRUST 2007-1                                                                   DEFENDANTS

                                                   MOTION FOR CONTINUANCE

              Comes now the Plaintiff, Gary Reece, by and through his attorney, Kathy A. Cruz,

    the Cruz Law Firm, P.L.C., and for his Motion for Continuance, states as follows:

               1. A hearing is currently set for Thursday, December 9, 2010, at 8:30a.m. in the

    above-referenced matter.

               2. Counsel for the Plaintiff, Gary Reece, also has several previously scheduled

    hearings in Bankruptcy Court, in Hot Springs on Thursday, December 9, 2010.

               4· Counsel for the Plaintiff has contacted Defendant's counsel, Mr. Samuel High,

    who has no objection to this Motion for Continuance being granted by the Court.

               WHEREFORE, the Plaintiff, Gary Reece, prays that the hearing set for December

    9, 2010, be continued to allow the Plaintiff's co~sel to attend her previously scheduled

    Bankruptcy Court hearings, and for all other relief to which he may be entitled.

                                                                    Respectfully submitted,
      \\\\1 t\\\\\11\1I\1\\\1 \lt \\\\\I\\\\ \1\\1 l\\\\1\\\        Gary Reece, Plaintiff
     60CV-~ 0-sg26             S01-6010e012240-015.
     GARY REECE ET PL V1HE BRNK 2 Pages
     PULASKI CO               12109/2010 11:29 RM
                                                               By:*~
     CIRCUli COUR1                           MN60                   Arkansas Bar ID No. 87079
                                                                    THE CRUZ LAW FIRM
                                                                    1325 Central Avenue
                                                                    Hot Springs, AR 71901
         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 36 of 95



                                                 501-624-3600 (telephone)
                                                 501-624-1150 (facsimile)
                                                 kathy@cruzlaw.com
                                                 Board Certified in Consumer Bankruptcy
                                                 Law by the American Board of Certification

                            CERTIFICATE OF SERVICE

      I, the undersigned, do hereby certify that a true copy of the above pleading has
been sent via facsimile, on this 30th day of November, 2010 to:

Mr. Samuel High Facsimile: 501-219-9458




                                             2
            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 37 of 95
                                                                                                                  CV.5.2010.1175


            IN THE CIRCIDT COURT OF PULASKI COUNTY, ARKANSAS
                               DIVISIONV ·

GARY REECE ORSHERRI WOODS
AND/OR OCCUPANTS OF
1015 NORTH MISSISSIPPI
LI'ITLE ROCK, AR 72207                                                                                  PLAINTIFFS

vs.                                                           CASE NO: 6oCV-2010-5926

THE BANK OF NEW YORK, MELLON
AS TRUSTEE FOR CIT MORTGAGE
LOAN TRUST 2007-1                                                                                       DEFENDANTS

                                        ORDER OF CONTINUANCE

       On this date, this matter carne before the Court on the Plaintiff, Gary Reece's,

Motion for Continuance. The Court, being well and sufficiently advised in the premise,

DOES FIND:

       1.    This Court has both jurisdiction of the parties and the subject matter of this

action, and venue is proper in this Court.

       2.    For the reasons set forth in the Plaintiff's Motion for Continuance, a

continuance should be and is hereby granted in the above-referenced matter.

       3· This matter is hereby reset for hearing on                         F.c. b \:Y (Jtl~ ~I aolo at
\0: ;>,oar!)
       IT IS SO ORDERED.


                 1111111111111111111111111111111111111111111111111   'Ernest Sanders, Jr. Circuit                 dge
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                GARY REECE ET AL VTHE BANK 0 1 Page
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                CIRCUIT COURT                              OR77T
Distribution:        · ·· ·
Kathy A. Cruz                                                        Mr. Samuel High
Plaintiff's Attorney                                                 Wilson & Associates, PLLC
1325 Central Av.                                                     1521 Merrill Dr., Ste. D-220
Hot Springs, AR 71901                                                Little Rock, AR 72211
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                               IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS                                           #L --
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                                                                                        Larr~:~   Crane Pulaski Circuit Clerk
                 GARY REECE OR SHERRI WOODS                                             FS
                 AND/OR OCCUPANTS OF
                 1015 NORTH MISSISSIPPI
                 LITTLE ROCK, AR 71207                                           PLAINTIFFS

                 vs.                                CASE NO: 60CV•2010·5926

                 THE BANK OF NEW YORKr MELLON
                 AS TRUSTEE FOR CIT MORTGAGE
                 LOAN TRUST 2007·1                                                      DEFENDANTS

                                                  ENTRY OF APPEAftANCE
                        The undersigned attorney, Joel Hargis, Crawley, Deloache & Hargis, PLLC, hereby

                 enters hls appearance as attorney for the Plaintiffs, Gary Reece and Sherrl Woods, In the

                 above-referenced matter.

                        Witness my hand and seal this 17th     day of February 2011.




                        I, the undersigned, do hereby certify that I have this 17th day of February, 2011,
                 duly served a true and correct copy of the foregoing upon the following person by U.S. Mall,
                 postage prepaid, at the following address:

                 Mr. Samuel High
                 Wilson & Associates, PLLC
                 1521 Merrill Dr., Ste. D-220
                 Little Rock, AR 72211




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                                         CRAWLEY, DELOACHE 8r. HARGIS, PLLC
                                                 ATTORNEYS AT LAW
                                                 www.crawleydeloache.com

                  Michael E. Crawley, Jr.          G. Michael Deloache                   Joel G. Hargis

                                                 533 West Washington Ave
                                                    Jonesboro, AR 72401
                                                 Telephone (870) 972~ 1127
                                                     Fax {870} 972~1787


                  February 17, 2011

                  VIA FACSIMILE and US Mail: 501·340·8420

                  Pufaski County Circuit Clerk
                  401 W. Markham St., Room 120
                  Uttle Rock, AR 72201

                  RE:      Gary Reece or Sherri Woods and/or Occupants of 1015 North Mississippi Uttle
                           Rock, AR 72207 vs. The Bank ofNew York, Mellon as Trustee for CIT
                           Mortgage Loan Trust 2007-1                              ·
                           Pulaski County Circuit Court Case No. 60CV-2010·5926

                  Dear Circuit Clerk:

                        Enclosed please find the original Entry of Appearance to be filed in the above
                  mentioned case. Please file-mark and return via facsimile to 870-972-1787. If you
                  have any questions, please feel free to contact me at 870-972-1127.

                  Thank you in advance.



                  Sincerely,




                  lGH/SS

                  cc: Mr. Samuel High

                  Enclosures
                       Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12      Page02-17-2011
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                                                 CRAWLEY, DELOACHE It HARGIS, PLLC
                                                             ATIORNEYS AT LAW
                                                           www.crawleydeloache.com

                      Michael E. Crawley, Jr.                  G. Michael DeLoache ·                              Joel G. Hargis

                                                            533 West Washington Ave
                                                              Jonesboro, AR 72401
                                                           Telephone (870} 972·1127
                                                                Fax (870) 972·1787


                                                                 Fax Cover Sheet



                      FROM!             Stephanie

                      TO:               Pulaski County Circuit Oerk

                      DATE:             February 17, 2011

                      FAX:              501-340-8420

                      RE:               Reece v. The Bank of New York
                                        Case No. 60CV·2010-5926

                      Number of pages lndudlng cover sheet: 3
                      The information contained in this faCSimile transmission is confidential information intended for the sole
                      use of the addressee. If the reader of this facsimile transmission is not the intended recipient, to the
                      employee or agent responsible fro delivering to the intended recipient, you are hereby notified that any
                      distribution or copying of this communication is strictly prohibited. (f you have received this facsimile in
                      error, please immediately notify the person listed above and return this facsimile message In the original
                      form received by you to the sender et the address above. Thank you.

                      Message:




                      PLEASE TELEPHONE IF THIS FASCJMILE       [$   RECEIVED IN ERROR, IS INCOMPLETE OR II.LEGIBLE. THANK
                      YOU.
        Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 41 of 95




             IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                DIVISION V

GARY REECE OR SHERRI WOODS                                                              FILEt 02/23/11 15:24:07
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AND/OR OCCUPANTS OF                                                                     Larr·~   Cr.ane Pulaski Circuit Clerk
1015 NORTH MISSISSIPPI                                                                  CM
LITTLE ROCK, AR 72207                                                                PLAINTIFFS

vs.                                             CASE NO: &OCV-2010-5926

THE BANK OF NEW YORK, MELLON
AS TRUSTEE FOR CIT MORTGAGE
LOAN TRUST 2007-1                                                                            DEFENDANTS

                                            ENTRY OF APPEARANCE

      The undersigned attorney, Joel Hargis, Crawley, DeLoache & Hargis, PLLC, hereby

enters his appearance as attorney for the Plaintiffs, Gary Reece and Sherri Woods, in the

above-referenced matter.

       Witness my hand and seal this                    17th         day of February 2011.




       I, the undersigned, do hereby certify that I have this 17th day of February, 20i1,
duly served a true and correct copy of the foregoing upon the following person by U.S. Mail,
postage prepaid, at the following address:

Mr. Samuel High
Wilson & Associates, PLLC
1521 Merrill Dr., Ste. D-220
Little Rock, AR 72211




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           Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 42 of 95
-•

                           CRAWLEY, DELOACHE 8L HARGIS, PLLC
                                   ATIORNEYS AT LAW
                                www .crawleydeloache.com

     Michael E. Crawley, Jr.        G. Michael DeLoache                    Joel G. Hargis

                                 533 West Washington Ave
                                    Jonesboro, AR 72401
                                 Telephone (870) 972-1127
                                     Fax (870) 972-1787


     February 17, 2011

     VIA FACSIMILE arid US Mail: 501-340-8420

     Pulaski County Circuit Clerk
     401 w. Markham St., Room 120
     Little Rock, AR 72201

     RE:    Gary Reece or Sherri Woods and/or Occupants of 1015 North Mississippi Uttle
            Rock, AR 72207 vs. The Bank of New York, Mellon as Trustee for CIT
            Mortgage Loan Trust 2007-1                               ·
            Pulaski County Circuit Court Case No. GOCV-2010-5926

     Dear Circuit Clerk:

           Enclosed please find the original Entry of Appearance to be filed in the above
     mentioned case. Please file-mark and return via facsimile to 870-972-1787. If you
     have any questions, please feel free to contact me at 870-972-1127.

     Thank you in advance.


     Sincerely.




      JGH/ss

      cc: Mr. Samuel High

      Enclosures
                               Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 43 of 95
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                                                                                            CV.S.2011.178


                                  IN THE CI:RCO:tT COURT OF POLASKI: COUNTY, ARKANSAS
                                                     F:tFTH DIV:tSI:ON

                      GARY REECE                                                  PLAINT:tiT

                                                                               FILED 02125/U 16~ 18::Jj
                      v.                          Case No.   cv   2010-5926    Larr":.« Crane Pulaski Circuit tlerk
                                                                               CR01   ...i.?J(5'
                      THE BANK OF NEW YORK                                        DBFENDAN'T



                                                           ORDER

                           Now, on this, the 25TH day of February, 2011, the Court
                      having examined party pleadings and other matters presented,
                      finds that:

n""'CC       en       1. When a Circuit Court holds a hearing for a temporary
~~~~                _    restraining order, the hearing is to determine whether the
::::t !9 ~ ;;p           temporary restraining order should be dissolved or should
§ 8 ~~                   ripen into what should be called a preliminary injunction.
~        ~         -     The Judge must make findings as to the irreparable harm and
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         :::c>

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                   -
                         likelihood of success on the merits.     In deciding whether
   --~-                  there  are sufficient grounds  for a permanent  injunction the
   ..._, :::1:: I  -
   ~:~ _                 court should weigh 4 factors: A) irreparable harm; B)
   ~~~:::                balance between such harm and the injury that granting the
   ~....,~ _             injunction will impose on the other party; C) likelihood of
   ..           -.11=
~c:Df:b                  success on the merits; .and 4) public interest ..
sg :il ..... ::::: ~
                      2. On February 22, 2010, this Court held one such hearing.

                            3. This Court still questions whether the Defendant has
                               demonstrated a substantial likel.j.hood of prevailing on the
                               merits of the case.

                            4. Notwithstanding this Court's reservations and in order to
                               maintain the status quo, the temporary restraining order
                               currently in place will be stayed contingent upon the
                               Plaintiff making payments equal to mortgage payments under
                               the contract between the parties. These payments should be
                               made to the registry of the Court in lieu of posting bond
                               in accordance with Rule 65 (d) of the Arkansas Rules of
                               Civil Procedure.                                     ,

                            5. A hearing shall be set by this Court within forty-five (45)
                               days of the signing of this Order.    The hearing shall be
                               held on the merits of the case and whether or not this
                                                              1
          Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 44 of 95
I
 .

          Court should issue a permanent injunction pursuant to Rule
          65 of the Arkansas Rules of Civil Procedure.

          From the pleadings and other matters filed herein, . the
       Court doth hereby find, order, and direct that the temporary
       restraining order entered on October 18, 2010 be stayed until
       the next hearing on the merits · of this case and whether a
       permanent injunction should be granted.

     IT IS SO ORDERED.




                                        2
          Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 45 of 95



                  HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
                             .401 WEST MARKHAM/ROOM 410
                               LITTLE ROCK, AR 72201
                                Phone: (501) 340 8550
Kathy A    Cruz
Cruz Law Firm
1325 Central Avenue
Hot Springs, AR 71901




                                                               FILED 03/22/11 12:1St28
                                                               Larr"=f Crane Pulaski Circuit Clerk

Case# 60CV-10-5926
GARY REECE ET AL V THE BANK OF NEW YORK

O'l'BBR HEARING


March 15, 2011

The above-referenced case has been set for OTHER HEARING on April 21,
2011 at 10:00 AM in the Circuit Court Of Pulaski County, Courtroom
410, 5th Division.

It is the responsibility of the parties/attorneys to notify this
office of any parties/attorneys who have been inadvertently omitted
from ~notice.



cc:
      ~
      Samuel High, Joel Hargis


Receipt is acknowledged of the above notice this , , rA       day of
    'J'b11 ,'*"       ,
                    20_/L_.


Si~~
                                                                                        ~
Please sign and return a copy to:
Trial Court Assistant                                     1111111111111111111111111111111 1111111111111111.
HON. WENDELL GRIFFEN ~ 5TH DIVISION 6TH CIRCUIT       60CV-10-5926             601-60100024349-003
401 WEST MARKHAM/ROOM 410
LITTLE ROCK, AR 72201
                                                      GARY REECE ET Al. VTHE BANK 0 1 Page
Thank you.                                            PULASKI CO               03(22/2811 12:18 PM
                                                      CIRCUIT COURT                                FID59
             Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 46 of 95



                IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                             CIVIL DMSION

.GARY REECE OR SHERRI WOODS
AND/OR OCCUPANTS OF
                                                  c:Iih·
1015 NORTH MISSISSIPPI
LITrLE ROCK, AR 72207                                                                                      PLAINTIFFS

vs~                                     CASE NO: 60CV 2010 5926                    ~~
                                                                                   FILED 03/29/11 12:29:46
                                                                                   Larr~ Crane Pulaski Circuit CLerk
THE BANK OF NEW YORK, MELLON                                                       CROl
AS TRUSTEE FOR CIT MORTGAGE.
LOAN TRUST :W07Ml                                                                                    DEFENDANTS


                                  MOTIONFOROO~ANCE



       COMES NOW Defendant, The Bank of New York, Mellon as Trustee for Cit Mortgage Loan

Trust 2007-1, by and through its attorney Samuel High/Wilson & Associates, P.L.L.C., and fur its

Motion for Continuance~ states as follows:

       1.        Thismatterispresendysetfora hearing onApril21, 2011.

       2.        At this time, Counsel for Defendant is scheduled for a Bench Trial in the CirCuit Cowt

of Garland County, ~ in the following case: RlR. Properties, LLC v. Charles D. ~ et

al., Case No. CV 2010-561 N.

        3.       Defendant hereby respectfully requests that this matter be continued tmtil a later date.

       4.        Defendant's Motion for Continuance is not made for the purpose of unnecessary

delay, and neither party would be prejudice by the granting of a continuance.

        5.       Counsel for Defendant has discussed this matter with Plaintiffs' ColBISel, and

Plaintiffs do not object to a continuance.
                                                                                   ·-···   --··   --·- --- ··-··


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           Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 47 of 95



         WHEREFORE, Defendant prays that this Motion for Continuance be granted; and for all

· other just and proper relief to which it is entitled.

                                                          Respectfully Submitted,




                                                                      .gh (2001125)
                                                                 ON & ASSOCIATES, PLLC
                                                          1521 Merrill Drive, Suite 0 ..220
                                                          Little Rock, AR 72211
                                                          (501)219-9388 Telephone
                                                          (501) 219..9458 Facsimile ·

                                                          Attorney for The Bank ofNew York, Mellon as
                                                          Trustee for Cit Mortgage Loan Trust 2007-1


                                     CERTIFICATE OF SERVICE

        On 1his &i_ day of ~                       2011, a true copy oflhe furegoing was served via
 United States Mail, with su:ffi ent postage thereon to ensure delivery, upon:

 Kathy A Cruz
 The Cruz Law Firm
 1325 Central Avenue
 HotS~ AR 71901

 Joel Hargis
 Crawley, DeLoacbe & Hargis, PLLC
 533 West Washington Ave
 Jonesboro, AR 72401
 ~(f?
                            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 48 of 95




Wilson & Associates, P.L.L.C.                                                                 1111111111111111111111111111111111111111111111111
Atto111eys at Law- Teaaasee & Arkaasas
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ISZJ Mmill Drive, Slliae D220
Utile Rode, AR 72211
511-219-9318
                                                                                            CIRCUIT COURT                         FID68
ru 511-21'-9458
 .......
Internet: www.wilsop-usoe.com
        ....,....
 ...,.....,..
 Ja- ........--
                                Ms. Shannon Robinson
                                Pulaski County, Trial Court Assistant
                                                                                           FILE[~   04/04/11        15:4~3:44

 .-.-.,.
 ...... s. BllaCer+
                                5th Division
 IGmbedyD.~                     410 Courthouse, 401 W. Markham St
 .u... CallhJell                Little Rock, AR 72201
 Mil.,- ..... Cuteel
 Kila~S.Coek*•
 Krilldll C4l'llell
 T-~                            RE:     Gary Reece, et al. v. The Bank of New York,
 DeuuDinnqla
 lAde FI')'HII                          Citi Mortgage Loan Trust 2007-1/ Case No.
 Jeelw. GlddeM*•
 TraYis Gl'll)'
 Mldale!Hadlera•                Dear Shannon:
 Ricklhlms••
 S..lldfliP+
 .lily Kelldall..
 .IH.ttaul.aedleft'                      Enclosed please find my acknowledgment of receipt of the hearing
 AJ9Ia Martia                   setting notice. At this time, I have a conflict on that date. Specifically, I am set
 U.ICeldl Mllrriselt+-
 Rellert 1L Mia**
 CluillOpfaer L ....._..,
                                for a bench trial in the following case, in the Circuit Cotnt of Garland County:
 Adui.Perde                     RTR Properties, LLC v. Cannon, (CV 2010-5611V). I can file a formal Motion
 ... Stipper..,..
 JauRaaa*"'                     if that is necessary; however, if the Cotnt is willing to reset this matter at this
 l.P.Sellers                    time~ I have conflicts on the following dates: April20, 22; MaySt 12 and 20;
 Lhllb Sduleider+
 AarH &tayns+                   June 8-10 and 13. Otherwise, I am available.
 Sllellle WalKe+
 CIIIU'IIIIT, Wlh'II.Jr.
 llobertM. Willrea,Jr.++
 Jcai&rWIIMD-Ha.,.,-+
                                        I am copying counsel on this matter, so tbat theY can comnnmicate with
 Mlllfll   vocter               the Court as it relates to any potential conflict dates. If you should need
                                anything furthert please let me know. As always, I thank you for your time and
 +~ill~llldT­
 ++~•Afkl-. T -
                                assistance.
   ..aT-
 *"Ad81ao4 Ia T -
 • Ofc.-1
 ..u ...................
                                                                              Sincerely,

                                                                              WILSON & ASSOCIATES, PLLC




                                efin

                                cc:    Kathy Cruz
                                       Joel Hargis
.   ,.          Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 49 of 95



                      HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
                                  401 WEST MARKHAM/ROOM 410
                                    LITTLE ROCK, AR 72201
                                    Phone: ( 501) 340 8550
     Samuel Scott      High
     1521 Merrill Dr Ste 220d
     Little Rock, AR 72211




     Case# 60CV-10-5926
     GARY REECE ET       AL V   THE BANK OF NEW YORK

     OTHER HEARING

     March 15, 2011
     The above-referenced case has been set for OTHER BEARING on April 21,
     2011 at 10:00 AM in the Circuit Court Of Pulaski County, Courtroom
     410, 5th Division.

     It is the responsibility of the parties/attorneys to notify this
     office of any parties/attorneys who have been inadvertently omitted
     from ~ notice.

               1~]{6Jrt-
         cc:    Kathy Cruz, Joel Hargis


         Recbl~~'l ackno.wledged   of the above notice this   /6-.ft(_.   day of
     --~~~~~----~~------' 20~.

         Si~
         Please sign and return a copy to:
         Trial Court Assistant
         HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
         401 WEST MARKHAM/ROOM 410
         LITTLE ROCKi AR 72201
         Thank you.
      Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 50 of 95




                  HON. WENDELL GRIFFEN ~ 5TH DIVISION 6TH CIRCUIT
                              401 WEST MARKHAM/ROOM 410
                                LITTLE ROCK, AR 72201
                                Phone: (501) 340 8550
Joa1 Grant       Hargis
533w Washington Ave
Jonesboro, AR 72401

             ..
             ·

                                                              FILEO 0.3/29/11 14:5t:o~
                                                              Larr; Cr~ne ~Jlaski Ci~cuit Cl- ,,
                                                              ClerK KU                                        •   ~r"'


easel 60CV-10-5926
GARY REECE ET AL V THE BANK OF.NEW YORK

OTHER BBARJ:HG

March 15, 2011

The above-referenced case has been set for O'l'BER BEARING on April 21,
2011 at 10:00 AM in the Circuit Court Of Pulaski County, Courtroom
410i 5th Division.

It is the responsibility of the ~arties/attorneys to notify this
office of - ny parties/attorneys who have been inadvertently omitted
from th' notice.



cc:   Kathy Cruz, Samuel High


             acknowledged of the above notice this   \1 tb    day of
---~~~---' 20_\_l_.



        1gn an return a copy. to:
Trial Court Assistant
HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
401 WESTMAR!<HAM/RQOM 410
LtTTLE ROCK;. AR 72201 .                                     1111111111111111111111111111111111111111111111
Thank you.                                               60CV-1B-5926            601-60100024714-018
                                                         GARY REECE ET AL VTl£ BIWK 0 1Page
                                                         PUI.ASKI CO      83/29/2911 82:51 Pl1
                                                         CIRCUIT COURT                  FID59
             Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 51 of 95



                IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                               ~ CIVIL DIVISION

GARY REECE OR SHERRI WOODS
AND/OR OCCUPANTS OF
1015 NORTH MISSISSIPPI
LITTLE ROCK, AR 72207                                                                            PLAINTIFFS

vs.                                     CASE NO: 60CV 2010 5926

                                                                              FILED 06/13/11 15:09:18                            ~
THE BANK OF NEW YORK, MELLON                                                    Lart"'::l Cr.ane Pulaski Circuit Clerk
AS TRUSTEE FOR CIT MORTGAGE                                                   CR02
LOAN TRUST 2007-1                                                                            DEFENDANTS


                                  MOTION FOR CONTINUANCE


        COMES NOW Defendant, The Bank of New York, Mellon as Trustee for Cit Mortgage Loan

Trust 2007-1, by and through its attorney Samuel High/Wilson & Associates, P.L.L.C., and for its

Motion for Continuance, by way of agreement between the parties, states as follows:

        1.       This matter is presently set for a hearing on June 15,2011, at 10:30 a.m., on the merits

of this case and whether this Court should issue a permanent injunction pursuant to Rule 65 of the

Arkansas Rules of Civil Procedure.

        2.       Counsels have   conferr~   and are presently in the process of good faith settlement

negotiations. Given the nature of this action, the parties, while not conceding or abandoning any

arguments before this Court at this time, agree that a continuance is in the best interest of all involved.

        3.       Defendant, after conferring with Plaintiffs' attorneys, hereby respectfully requests that

this matter be continued until a later date. All parties are in agreement with regard to this request.

        4.       This Motion for Continuance is not made for the purpose of unnecessary delay, and

neither party would be prejudice by the granting of a continuance.

        5.       All parties agree that a continuance is warranted.       IIIII IIIII IIIII I111111111111111111111111111111111
                                                                        60CV-10-5926             601~60100027625-013
                                                                        G~Y    REECE ET At. VTf£ BArt: 2 Pages
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                                                                        CIRCUIT COURT                           MN60
          Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 52 of 95



        WHEREFORE, Defendant prays that this Motion for Continuance be granted; and for all

other just and proper relief to which it is entitled.

                                                        Respectfully Submitted,




                                                        S    uel S 'gh 001125)
                                                        WIL       & ASSOCIATES, PLLC
                                                        1521 Merrill Drive, Suite D-220
                                                        Little Rock, AR 72211
                                                        (SOl) 219-9388 Telephone
                                                        (SOl) 219-9458 Facsimile
                                                        shigh@wilson-assoc.com

                                                        Attorney for The Bank ofNew York, Mellon as
                                                        Trustee for Cit Mortgage Loan Trust 2007-1


                                    CERTIFICATE OF SERVICE

        On this 13th day of June 2011, a true copy of the foregoing was served via United States
 Mail and electronic mail, with sufficient postage thereon to ensure delivery, upon:

 Kathy A. Cruz
 The Cruz Law Finn
 1325 Central Avenue
 Hot Springs, AR 71901
 kathycruzlaw@gmail.com
 (SOl) 624-3600 (telephone)
 (501) 624-11SO (facsimile)

  Joel Hargis
. Crawley, DeLoache & Hargis, PLLC
  533 West Washington Ave
  Jonesboro, AR 72401
  (870)972-1127 (telephone)
  (870) 972-1787 (facsimile)
  joel@crawleydeloache.com
        Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 53 of 95




              HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
                          401 WEST MARKHAM/ROOM 410
                            LITTLE ROCK, AR 72201
                            Phone: ( 501) 340 8550
 Joel Grant Hargis                                       IIIII 1111111111111 IIIII I111111 I1111111111111111 II
 533 W. Washington Ave                                 60CV-10-5926 601-60100025236-028
 Jonesboro, AR 72401                                                         GARY REECE ET AL VTHE BANK 0 1Page
                                                                             PULASKI CO       04/13/2011 11:47 ~
                                                                             CIRCUIT COURT                FI058



Case# 60CV-10-5926
GARY REECE ET AL V THE BANK OF NEW YORK

~HER       &BARING

March 31, 2011

The above-referenced case has been set for OTHER HEARING on June 15,
2011 at 10:30 AM in the Circuit Court Of Pulaski County, Courtroom
410, 5th Division.

It is the                           of the parties/attorneys to notify this
                                           who have been inadvertently omitted




cc:    Sammy High, Kathy Cruz


        cknowledged of the above notice this :J~                          day of
---~~~~-=--' 20~.




                     etur    a copy to:
Trial Court Assistant                                                                  ReceiVed
HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT                                       In omceon
401 WEST MARKHAM/ROOM 410
LITTLE ROCK, AR 72201                                                               APR 12 2011
Thank you.
                                                                                     Flflh Dlvtslon
                                                                                     Circuit Court
             Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 54 of 95


                                                                                                    CV.5.2011.859
               IN THE CmCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                CML DIVISION

GARY REECE OR SHERRI WOODS
AND/OR OCCUPANTS OF
1015 NORTH MISSISSIPPI
LITTLE ROCK, AR 72207                                                                               PLAINTIFFS

vs.                                    CASE NO: 60CV 2010 5926

                                                                               FILED 07/12/11 08:21:25
THE BANK OF NEW YORK, MELLON                                                   Larr~
                                                                               ...i:P.
                                                                                            Crane Pulaski Circuit Clerk
AS TRUSTEE FOR CIT MORTGAGE                                                    r~
LOAN TRUST 2007-1                                                                              DEFENDANTS


                                 ORDER FOR CONTINUANCE


       COMES NOW this matter before the Court on Defendant's Motion for Continuance. The

Court being apprised of all issues relevant to this matter, doth hereby CONSIDER, ORDER and

ADJUDGE as follows:

        1.       This matter is presently set for a hearing on June 15, 2011, at 10:30 a.m., on the

merits of this case and whether this Court should issue a permanent injunction pursuant to Rule 65

of the Arkansas Rules of Civil Procedure.

       2.        Pursuant to the reasons set forth in Defendant's Motion, with all parties being in

agreement, and for good cause shown, Defendant's Motion is hereby granted, and this matter shall

be removed from the Court's June 15,2011 docket.

       2.        This matter is hereby continued until a later date, upon request by the parties, if

necessary. In the alternative, this matter is continued until the _     day of _ _ _ _ _ _....;

2011, at _ _ _ _ _ a.m./p.m., or as soon thereafter as it may be heard.

       IT IS SO ORDERED.
                                                                                                          -·-



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                                                                      60CV-10-S926               601-60100028904-016
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                                                                      ·ciRCUIT COURT                                     OR77T
                Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 55 of 95
.   '




                                                 Date




        S uel S. ·      2001125)
        WI        & ASSOCIATES, PLLC
        1521 Merrill Drive, Suite D~220
        Little Rock, AR 72211
        (501} 219-9388 Telephone
        (501) 219-9458 Facsimile
        shigh@wilson-assoc.com
                                     Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 56 of 95




Wilson & Associates, P.L.L.C.
Attorneys at Law -Tennessee & Arkansas

                                                                          June 13, 2011
1521 Merrill Drive. Suite 0220          Honorable Wendell L. Griffin
Little Rock, AR 72211
501-219-9388                            Pulaski County Circuit Judge
fax 501·219-9458                        5th Division
Internet: www. wilson·!ISSOC.com
 John Barney••                          410 Courthouse, 401 W. Markham St.
 James Bergstrom..                      Little Rock, AR 72201
 Holly Bishop••
 Angela Boyd                            Via hand delivery
 Randall S. Bueter+
 !Gmberly D. Burnette
 Mary Robin Casteel                     RE:    Gary Reece, et al. v. The Bank of New York, Mellon as Trustee for
 Kimberly S. Cook**
 Kristin Cordell                               Citi Mortgage Loan Trust 2007-1/ Case No. 60 CV 2010 5926
 Ted Cummins• •
 Deanna Dorrough
 Leslie Fryxell
 Joel W. Giddeus**                      Dear Judge Griffin:
 Michael Hathorn•
 Rick Helms**
 Samuel High+                                   Enclosed please find a file-marked copy of a Motion for Continuance in the above
 KadeeKelley
 Jay Kelldall**                         cause. Please also find a proposed, precedent Order. As noted in the Motion, the parties
 Jonathan Luedloff                      are in settlement negotiations, and we are all in agreement that this matter should be
 Angela Martiu
 H. Keith MarriSQil+                    continued at this time. I am copying Mr. Hargis and Ms. Cruz via US Mail, and I have
 Robert H. Moss••
 Daniel Osborne .                       already sent a copy of this letter to counsels via email. We have also conferred via
 Christopher L. Palmer+
 Adam Perdue                            telephone and email, and after conferring with our respective clients, we are all in
 J. Skipper Ray+
 John Roann
                                        agreement If this Order meets with your approval, than I ask that you please
 J.P. Sellers                           execute the same, forwarding it to the Clerk for filing.
 Linda Schneider+
 Aaron Squyres+
 Robin Sullivan
 Shellie Wallace+
                                                 While we ask that the Court remove this matter until the parties request a new
 Charles T. Ward, Jr.                   date, we do not object to a specific setting, if you prefer it to be handled in that manner. I
 Robert M. Wilson, Jr.++
 Jennifer Wilson-Harvey+                have worked with both of my colleagues in the past, and I can speak for them in terms of
 Maria Yoder
                                        their willingness to cooperate fu all respects. Each of us respects this Court's desire to
 +Admitted In Arkansas ond Tennmee
                                        keep matters on track, and we will all work with the Court in any way. in order to
 ++Admined in Arkallsas, T -            facilitate any future re-scheduling, if it becomes necessary. If you should need anything
   and Tc:x&l
 ••AdmnredinTemR$~                      from the counsels involved in this case, please let us know. ·
 • OfCounsel
 All othel'll admitted in Arkansas
                                               Thank you very much for your time and consideration.

                                                                                         Sincerely, .

                                                                                                             & ASSOCIATES, PLLC


                                                                                     .........___...   ~~·




                                        efmlencl.

                                        cc:    Kathy Cruz (1325 Central Avenue, Hot Springs, AR 71901)
                                               kathycruzlaw@gmail.com
                                               Joel Hargis (533 W. Washington, Jonesboro, AR 72401)
                                               joel@crawleydeloache.com                  ·
       Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 57CV.S.2011.403
                                                                of 95



             IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                               CIVIL DIVISION

GARY REECE OR SHERRI WOODS
AND/OR OCCUPANTS OF
1015 NORTH MISSISSIPPI
LITTLE ROCK, AR 72207                                                                     PLAINTIFFS

vs.                                   CASEN0:60CV20105926                FI~ED 04/26/il 08:13:01
                                                                         L::=~~(·: Cran~ Pt.~} -~=.ki Ci r~~. ~i t        C1.·~r·~:.

THE BANK OF NEW YORK., MELLON
AS TRUSTEE FOR CIT MORTGAGE
LOAN TRUST 2007-1                                                                     DEFENDANTS


                                 ORDERFORCON~ANCE



       COMES NOW this maUer before the Court on Defendant's Motion for Continuance. The

Court being apprised of all issues relevant to d:ris matter, dod1 hereby CONSID~ ORDER and

ADJUDGE as follows:

       l.      This matter is presently set for a hearing on April2l. 2011. Pursuant to 1he reasons set

forth in Defendant's Motion, and fur good cause shoWD; Defendant's Motion is hereby granUM~, and

this matter shall be removed from the Court's April2l, 2011 docket.

       2.      This matter is hereby continued until the l5.._~y of     TUKJ-U                         • 2011, at

~.m., or as soontbereafter as it maybe heard.
       IT IS SO ORDERED.




                                                      ~-
                                                         $"'~/-#
                                                      Date

                                                                           111111111111111111111111111111111111111111111111
                                                                         60CV-10-5926           601-60100025727-011
                                                                         GRRY REECE ET It VTl£ BAI: 2 Pages
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                                                                         CIRCUIT COURT                        OR77T
         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 58 of 95
1-   •




                                           Prepared by:




                                            lrrnn.~. High (2001125)
                                              ......__._,,.. & ASSOCIATES~ PLLC
                                           1521 Menill Drive, Suite D-220
                                           Little Rock, AR 72211
                                           (501) 219-9388 Telephone
                                           (SOl) 219-9458 Facsimile

                                           Attorney for The Bank ofNew York, Mellon as
                                           Trustee for Cit Mortgage Loan Trust2007-1
,         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 59 of 95



                 HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
                             401 WEST MARKHAM/ROOM 410
                               LITTLE ROCK, AR 72201
                               Phone: (501) 340 8550
    Joel Grant Hargis
    533w Washington Ave
    Jonesboro, AR 72401

                                                                                    -··   ·--   --·   ·--·--   -   ..


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    Case# 60CV-10-5926                                     CIRCUIT COURT                                  Fl05B
    GARY REECE ET AL V THE BANK OF NEW YORK

    REPORT/STATUS

    August 17, 2011

    The above-referenceQ. case has been set for REPOR'l'/S'l'ATOS on November
    4, 2011 at 09:00 AM in the Circuit Court Of Pulaski County, Courtroom
    410, 5th Division.

    It is the responsibility of the parties/attorneys to notify this
    office f any parties/attorneys who have been inadvertently omitted
    from   is netic



    cc:    Kathy Cruz, Sammy High
                                                             ,.I
                 cknowledged of the above notice this      {5 . day of
    ~~~~------' 2011_.



              n and re
    Trial Court Assistant
    HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
    401 WEST MARKHAM/ROOM 410                                                                   ~·
    LITTLE ROCK, AR 72201                                                                   tnolloe~·
    Thank you.
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                                             AUG 24 2011                                    C\ICUI COUit
                                             Fifth DMalon
                                             Circuit Court
       Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 60 of 95




               HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
                           401 WEST MARKHAM/ROOM 410
                             LITTLE ROCK, AR 72201
                             Phone: (501) 340 8550
Joel Grant Harqis
533w Washington Ave
Jonesboro, AR 72401                                                                                   -- ..     ·-



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                                                          60CV-10-5926             601-60100028956-003
                                                          GARY REECE ET AL VTHE BANK 0 1 Page
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                                                          CIRCUIT COURT                                   FID58
Case# 60CV-10-5926
GARY REECE ET AL V THE BANK OF NEW YORK

REPORT/STAIJ.'tJS

July 8, 2011

The above-referenced case has been set for REPOR'l/STA'l'O'S on July 29,
2011 at 01:30 PM in the Circuit Court Of Pulaski County, Courtroom
410, 5th Division.

It is the                   of the parties/attorneys to notify this
                                   who have been inadvertently omitted
from



cc:    Cruz, High


                                above notice this   \ '2..-tk--ctay of




                          copy to:
Trial Court    ~sistant
HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT                         Received
401 WEST MARKHAM/ROOM 410                                              In oftlce on
LITTLE ROCK, AR 72201
Thank you.                                                          JUL 13 2011
                                                                     Fifth Division
                                                                     Circuit Court
        Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 61 of 95


                   tj; ~H~                         U         Z           L A              W             F I R M

                                                 KATHY A. CRUZ
            Arkansas' ONLY Board Certified Attorney in Consumer Bankruptcy Law
                         501/624-3600 * 888/NIP-DEBT (647-3328)
              www.cruzlaw.com * 1325 Central Avenue * Hot Springs, AR 71901
                        fax 501/624-1150 email kathy@cruzlaw.com


                                                        July 13, 2011


                                                                                                                        FILED 07/19/11 15:43:42
Ms. Lashannon Robinson                                                                                                  ~err:~ Crane Pulaski Ciro.d t Clerk
Trial Court Assistant to the Hon. W                                                                                           £/
Pulaski County Circuit Court, 5th
401 West Markham, Room 410
Little Rock, AR 72207
                                                                                                                                                      I
                                                                                                                        111111111111111 fIll 11111111111 IIIII 111111111111 .
      Re:     Gary Reecev.                                                                                           60CV-10-5926             601-60100029080-027
              Pulaski                                                                                               GARY REECE ET AL V THE BANK 2 Pages
              5th Division,                                                                                         PULASKI CO                07/19/2011 03:43 PM
                                                                                                                    CIRCUIT COURT                            FI74
Dear Ms. Robinson:

       I am enclosing the                                                                                           with regard to the above-
referenced case.




Jjlg
Enclosure




                            Kathy A. Cruz, AttomiiY, BoaJd Certifli8CI in Consumer Bankruptcy Law by the Ameri~n Boeud of
                            C.11iflo:ation. Tho Cruz Law Firm has been deaignalod a Delli Relial Agency plRUIInllo Tille 11
                            of lho US C<ode as P8AW by Congress lfKlligll<od into law by the Pro&ident on April20, 2006,
                            and he& been pn>udly oorvlng Manaaa consumers for over 16 years. and is CIO'mltly lho only
                            boaJd certified oora.mer bankru~ lawyer In Arka11888.
•             Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 62 of 95




                      RON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
                                  401 WEST MARKHAM/ROOM 410
                                    LITTLE ROCK, AR 72201
                                    Phone: (501) 340 8550
    Kathy A    Cruz
    Cruz Law Firm
    1325 Central Avenue
    Hot Springs, AR 71901




    Case# 60CV-10-5926
    GARY REECE ET AL V THE BANK OF NEW YORK

    REPORT/STATUS

    July 8, 2011

    The above-referenced case has been set for REPORT/STATUS on July 29,
    2011 at 11:00 AM in the Circuit Court Of Pulaski County, Courtroom
    410, 5th Division.

    It is the responsibility of the parties/attorneys to notify this
    office of any parties/attorneys who have been inadvertently omitted
    fro~(!;;~
    cc:   Hargis, High


               s acknowledged of the above notice this   //~   day of
    -~t:l:::!~---' 20 _[j_.




    Please sign and return a copy to:
    Trial Court Assistant
    HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
    401 WEST MARKHAM/ROOM 410
    LITTLE ROCK, AR 72201
    Thank you.
                                   Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 63 of 95




Wilson & Associates, P.L.L.C.
Attorneys at Law- Teanessee & Arkansas                                                                 1111111111111111111111111111111111111111111111111
                                                                                                      60CV-10-5926           601-60100030422-003
                                                                         August 1, 2011               GARY REECE ET AL VTHE BANK 0 1 Page
1521 MerriD Drift. S•ite DllO
Little Rod. AR 72211                                                                                  PULASKI CO             08/18/2011 08:39AM
501-219-9388                                                                                          CIRCUIT COURT                                FI74
ru 501-219-9458
&temet: www.wilsoo-assoc.com
 Jaltu Baraeyu                           •Ms. Shannon Robinson
 James Berptn.....                        Pulaski County Trial Court Assistant
 HGIIJ Bislt.op**
 A.... Boy4                               51b Division
 Randall s. BaeRrt                                                                                 FILED 08/18/11 08:39:52
 Killlberly D. Bllrllelle                 410 Courthouse~ 401 W. Markham St.                       Larr!:l Crane Pulaski Circuit Clerk
 Mary RohiD c.:a.eJ                       Little Rock. AR 72201
 Kimberly S. Cook'"'"                                                                              CR3 .ftt'
 Kristin CordeD
 Ted C.mmiiiS"'•
 Dealllla Domnat!h                       RE:    Gary Reece, et al. v. The Bank of New York, Mellon as Trustee for
 Leslie Fryull
 Jeel w. Gldd!NIS".                             Citi Mortgage Loan Trust2007-l I Case No. 60 CV 2010 5926
 Mlcllacl Ha11uu'D.•
 Rieklfelms"*
 Samllcl HiP+                            Dear Shannon:
 ...,Ke.hll••
 KadeeKeHe,

 Jeuathn L.edloff
 Angela Martia
                                                 Judge Griffen asked that counsels get with you on setting this matter for
 IL Keith Merriseltf-                    a thirty minute status hearing in November. I am unavailable on the following
 Robert IL Mass"*
 DaDitJ Osbome+                          dates in November: November 21-25; and November 28.
 Cbrislvpher L. Palmer+
 AdutPerdue
 J. Skipper Ray+                               1 am copying opposing. counsels on this letter, so that they may also
 Jolmllau**
 J.P. Stiers
 Uada Sc:lmeillert-
                                         ~mmunicat(!   any
                                                        conflict dates.
 Aanm Sqayi'I!Si-
 RobiD S.llivaa
 Shelie WD~taeet-
                                                Thank you for your time, and please let me know if you should need any
 Ciwtes T. Want. Jr.                     additional information.
 Rttbut M. WilsoD, .Jr.++
 .Jeoulifer Wilstm-H~
 Marla vetler


 +Ad..-iiiNb-._T_
                                                                                      Sincerely,
 -Atlmillal i•~ T -
   lllllT-
  _,....._ill TOll-                                                                   WILSON & ASSOCIATES, PLLC
 • Of~
 An ........ lllllllilled Ill Arllauos




                                         efm
                                         cc:.   . Kathy Cruz (1325 Central Avenue, Hot Springs, AR 71901)
                                                  Joel Hargis (533 W. Washington,Jonesboro, AR 724Ql)


                                                                                                     nj'f
                                                                                                     ·Clctrf\
08/19/2011 15:48 FAX4:12-cv-00091-BSM
              Case   501 219 9458     WILSON & ASSOCIATES
                                      Document  1 Filed 02/10/12 Page 64 of 95 Ill 001




                      HON. WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCUIT
                                  401 WEST MARKHAM/~OOM 410
                                    LITTLE ROCK, AR 72201
                                    Phone: (501) 340 8550


                                                                                  m~~~~~1111 ,
        Samuel Scott High
        1521 ~arrill Dr., Ste 0220                m11111111111111m 1111111m1111
        Little Rock, AR 72211
                                                 60CV-10-5926        601-60100030595-002
                                                      GARY REECE ET AL VTHE BANK 0 1 Page
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        Case# 60CV-10-5926
        GARY REECE ET AL V     THE   BANK   OF NEW YORK

        REPORT/STA'l'US

        AutJUst 17, 2011

        The above-referenced case has been set for RBPOR!/S~TUS on November
        4, 2011 at 09;00 AM in the Circuit Court Of Pulaski county, Courtroom
        410, 5th Division.

        It is the responsibility of the parties/attorneys to notify this
        office    any parties/attorneys who have been inadvertently omitted
        from    s netic



        cc:   I<athy Cruz, Jo.el Hargis


                                                                      If#- day of


        Pleaae sign and return a copy to:
        Trial Cour~ ASsistant
        HON •.WENDELL GRIFFEN - 5TH DIVISION 6TH CIRCTJI'l'
        401 WEST MARKHAM/~OOM 410
        LITT~E ROCK, AR 72201
        Thanlt you.
12/29/2011 TBU       14~54           PAX                                                                           lj003/004
                 Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 65 of 95


                                                                                                                               ·I

                                                                                                                               I
                                                                                                                               I.

                      IN THE CIR~ COUR'I' OF PULASKI COUNTY, ARKANSAS                                                          f
                               FIFTH DIVISION, SIXTII CIRCUIT

       GARY REECE OR SHERRIWOODS
       AND/OR OCCUPANTS OF
       1015 NORTH MISSISSIPPI
       UTILE ROCK, AR 72207                                                                     PLAINfiFFS

       vs.                                                       CASE NO: 6oCV-2010-5926
                                                                                                                       /·.
       THE BANK OF NEW YORK, MELLON
       AS TRUSTEE FOR CIT MORTGAGE                                                              FILED 12/29/11 16:09:17
                                                                                                ID~ki Circuit CL rk·
       LOAN TRUST 2007-1
                                                                                                CR01
                                       MOTION TO DISMISS WITHOUT PREJUDICE

                   Comes now~ separate Plaintiff, SheiTi Woods~ by and through her attorneys, Kathy
        A. Cruz, the Cruz Law Firm, PLC, and Joel Hargis, Crawley, DeLoache &Hargis, PLLC~ and

        for her Motion to. Dismiss Without Prejudice states as fo]J.ows:
                    1.              I am a separate Plaintiff in the above-styledand foregoing action.
                    2.              1 now desire to dismiss, without prejudice, any and all of my claims against

        Defendants~ The BankofNew York Mellon, as Trustee for CTI' Mortgage Loan Trust 2007.;1

        in this action.
                    WHEREFORE, separate Plaintiff, Sherri Woods, prays that she be dismissed from
        any claims against Defendants, The Bank of New York Mellon, as Trustee for CIT Mortgage

        Loan Trust 2007-1 in this action, without prejudice.
                                                                                    Respectully Submitted,
                                                                                    Sherri Woods, Separate Defendant
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           60CV-10-5926 601-60100036262-003
            GARY REECE ET AL VTHE BANK 4 Pages
          . PULASKI CO       12/29/2011 04:09PM
                                                                                  By:~
                                                                                  KathYCruz,
                                                                                    Arkansas Bar ID No. 87079
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                    COURT
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                                        ----·   .   --   -··--      --···           tHE CRUZ LAW FIRM
                                                                                    1325 Central Avenue
                                                                                    Hot Springs, AR '71901
                                                                                    501-624·3600 (telephone)
l2/2P/20ll THU 14154 FAX                                                                                       IZJ004/004
            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 66 of 95




                                                                         501-624·1150 (facsimile)
                                                                         kathycruzlaw@gmail.com
                                                                         Board · Certified in Consumer
                                                                         Rllnlcr11ptcy Law by the .Alneriean
                                                                         Board of EIJ:tjfication           ·




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                                                                         Q"awley, De          Hatg:is, PU.C
                                                                        .533 West Wasbington
                                                                         Jonesboro, Alt 7240~
                                                                         (870) 972-U27(PH)
                                                                         (870)971-1787(FX)
                                                                         joel@emwi.....W....W .corn


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                       I, the undersigned. do hereby certify thatl haV~:tbis:29 111 dayofDeeember,2011, duly
                 5ened a ttLle and correct copy of the foregoing upon the following person by U.S. Mail,
                 postap prepaid, at the following address:

                 Mr. Samuel H"igh
                 Wilson & Aasociates. PLLC
                 1521 Merrill Dr., Ste. D-22o
                 Little Rock, AR 12211
     12/29/2011 THU 14t54
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                                              KATHY A. CRUZ
                       Arkansas' ONLY Board Certified Attorney in Consumer Bankruptcy Law
                                    501/624-3600"' 888/NIP-DEBT (647-3328)
                         www.cruzlaw.oom •1325 Central Avenue • Hot Springs, AR 71901
                                   fax 501/624-1150 email kathy@cruzlaw.com

                                              December29, 2011




                                                                            Sincerely,



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                                                                 . .··.·:·.·:Paralegal to I<athyA. Cruz
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            \jig
            Attachments
            cc:    . Sammuel High (viafaxwfencl.)
                     Lashannon Robinson (viafaxwfencl.)
        12/2~/2011   ~HU   141 54      FAX                                                                                                                        !ZIOOl/004
                      Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 68 of 95
. .,.
                                             ~ ~H~                             U Z              LAW                                        F I R M
                                                                           KATHY A. CRUZ
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                From:               Kathy A. Cruz, Attorney at Law ·(by:.Jinlm.ie Green.)

                To:                 Mr•. Larry Crane, Pulaski County Circuit Cleric, Civil Division
                Attn:               Eric, Central Receiving                                .··==· ... : :·. :::.: .i:::.:..;:A~
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                Re:                 Gary Reece, et al. v. me~: ojNeJ,i~f~rk, et al.
                                    Pulaski Countu Ci~~.:··b.: 6oCV-2o~0..5926
                                    snDivision, 6JI. ~t·'         ·.
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                Date:
                                                                                                                  .   ~~·~,

                                                                                                             .. ,~·.". · · Fax. to: 501-340-8420
                Pages:


                Comments:
                Eric:




                Thank you,

                Jimmie Green                                         ••:
                                                                           .
                                                                           "·II
                                                                               '
                Paralegal to Kathy A Cruz

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              Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 69 of 95

                                                                                                                     CV.5.2012.43


                    IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                              ·. FIFTH DMSION, SIXTH cmcurr
                                                                                                                 ~
       GARYREECE OR SHERRJ WOODS                                                                             ~£j
       AND/OR OCCUPANTS OF                                                                             FILED 01/0'3/12 13:28:42
       1015 NORTH MISSISSIPPI                                                                          Larr~     Crane P!Jl.aski Circuit CL rk
       IJTrLE ROCK, AR 72207                                                                           ~s

       vs.                               CASENO: 6oCV;.2010-5926

       THE BANK OF NEW YORK MELLON
       AS TRUSTEE FOR CIT MORTGAGE
       LOAN TRUST 2007..1                                                                              DEFENDANTS

                                           OBPEROF DISMISSAL

                   On this date, this matter came before the Courtj the separate Plaintiff, Sherri Woods''

       Motion to Dismiss Without Prejudice. The Court, being well and sufficiently advised in th~

       premise, DOES FIND:
                   1.   This Court has both jurisdiction of the parties and the subject matter of this

       action, and venue is proper in this Court.
                   2.   For the reasons set forth in the separate Plaintiff, Sherri Woods' Motion to

        Dismiss Without Prejudice should be and is hereby granted in the above-referenced matter.

                   IT IS SO ORDERED.




                                                                           Entered: · f, '!,_ /,._

        Distribution:                                      ----·   ·- -·   ·-




        Kathy A. Cruz
        Attorney for Plaintiffs
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                                                    GARY REECE ET AL VTHE BANK 0 1 Page
        Joel G. Hargis                              PULASKI CO             01/09/2012 01:28PM .
        Attorney for Plaintiffs
                                                  ·.CIRCUIT COURT                     _____ . . _~U30
        Samuel High
        Attorney for Defendants
,.                 Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 70 of 95




                       IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                          5TH DIVISION




          GARY REECE, for himself and all other                                FILED Ol/18/12_   ttt16.~ / ~
          Arkansas residents similarly situated,                               Lar~ Crane ilfhMllt..'tfltu~rk
                                                                               CR3
          vs.                                  CASE NO. 60CV-2010-5926

          THE BANK OF NEW YORK, MELLON
          AS TRUSTEE FOR CIT MORTGAGE LOAN
          TRUST 2007·1                                                                    DEFENDANT


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)0CV-10-5926                601-60100037068-010 - - - - - - - - - - - - - - - - - - -
~~R~ REECE ET AL VMS~~ 12 Pages FIRST AMENDED CLASS ACTION COMPLAINT
PULASKI CO       01/1812012 11:16 AM
CIRCUIT COURT                   FI4ID - - - - - - - - - - - - - - - - - - -

                  Comes now Plaintiff Gary Reece ("Plaintiff') by and through his attorneys and for his

          First Amended Class Action Complaint against The Bank of New York, Mellon ("BNY Mellon"

          or "Defendant"), and states:

                                         NATURE OF THE CLASS ACTION

                  1.      Plaintiff brings this class action complaint on his own behalf and as a

          representative of a class of Arkansas residents who were subject to non-judicial foreclosure

          proceedings initiated by BNY Mellon within the State of Arkansas in the past five years

          (hereafter, the "Class.,).

                  2.      By foreclosing on homes when not being authorized to do business in Arkansas,

          BNY Mellon has engaged in unconscionable and unfair business practices in violation of the

          Arkansas Deceptive Trade Practices Act ("ADTPA").

                  3.      Indeed, BNY Mellon has initiated non-judicial foreclosure proceedings under the

          Arkansas Statutory Foreclosure Act of 1987 (hereafter, the "SFA") against hundreds, if not
         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 71 of 95




thousands, of Arkansas residents throughout the state during the past five years, without meeting

the strict statutory requirement that it be authorized to do business in the State of Arkansas.

       4.      On April 14, 2003, the Arkansas legislature found that foreign entities not

authorized to do business in the State of Arkansas were availing themselves to the provisions of

the SFA, and often times to the detriment of Arkansas citizens. As such, our legislature passed a

bill, which became Arkansas law, requiring all foreign entities to be authorized to do business in

the State of Arkansas before being able to use the SFA.

       5.      BNY Mellon, however, is not and has never been authorized to do business in the

State of Arkansas as required by the SFA. In fact, it does not have a registered agent in the State

of Arkansas and has not filed the proper paperwork with the Arkansas Secretary of State's Office

to lawfully do business in Arkansas.     As such, BNY Mellon has not strictly complied with the

provisions of the SFA as required by Arkansas law, and thus, has violated the ADTPA due to its

unfair and unconscionable business practices.

                                             PARTIES

       6.      Plaintiff Gary Reece is a resident of Little Rock, Pulaski County, Arkansas.

       7.      Defendant Bank of New York, Mellon conducts non-judicial foreclosures within

this District and the State of Arkansas. and has its principle business offices are at One Wall

Street, New York, New York.

                                 JURISDICTION and VENUE

       8.      This Court has subject matter jurisdiction over this action.

       9.      This Court has personal jurisdiction over Defendant, because Defendant engages

in business within this County and the State of Arkansas. and derives a substantial part of its

revenue from within this County.



                                            Page 2 of 12
          Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 72 of 95




        10.     Venue is proper in this Court because this County is where a substantial part of

the events or omissions giving rise to the claim arose. Plaintiffs are also residents of Pulaski

County.

                                 FACTUAL ALLEGATIONS

        11.     The SFA is codified at Ark. Code Ann.§ 18-50-101 et. seq. It was enacted by the

Arkansas General Assembly in order to "provide an efficient and fair procedure for the

liquidation of defaulted mortgage loans to the benefit of both the homeowner and the mortgage

lender." (Emphasis added) (Acts 1987 No. 53, § 19: Feb. 18, 1987; Emergency Clause).

        12.     The SFA contains requirements that must be strictly met in order for a mortgagee

to avail itself of the remedies provided in Ark. Code Ann.§ 18-50-101 et. seq.

        13.     Ark. Code. Ann.§ 18-50-116 and 117 require that any entity employing the SFA

to foreclose on property in Arkansas must be a "mortgagee or beneficiary [who] is a mortgage

company as deflned in§ 18-50-101 or is a bank or savings and loan" and that it be "authorized to

do business in this state."

        14.     Pursuant to Ark. Code Ann. § 18-50-101(1) and (6), a beneficiary is "a person

named or otherwise designated in a deed of trust as the person for whose benefit a deed of trust is

given or his successor in interest," and a mortgage is "the person holding an interest in real

property as security for the performance of an obligation or his or her attorney-in-fact appointed

pursuant to this chapter."

          15.   Pursuant to Ark. Code Ann.§ 18-50-117 and the Emergency Clause of Acts 2003,

No. 1303, § 3: Apr. 14, 2003, the General Assembly found that, ''foreign entities not authorized

to do business in the State of Arkansas are availing themselves to provisions of the Statutory

Foreclosure Act of 1987 that often times it is to the detriment of Arkansas citizens; and that this



                                           Page3 of 12
           Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 73 of 95




act is immediately necessary because these entities should be authorized to do business in the

State of Arkansas before being able to use the Statutory Foreclosure Act of 1987."

          16.   The SFA, under Ark. Code Ann. § 18-50-116(d)(2)(A)(B)(ii), provides that

nothing in this chapter shall be construed to impair the right of any person or entity to assert his

or her legal and equitable rights in a court of competent jurisdiction.

          17.   If the mortgagor fails to raise his or her legal or equitable rights in a court of

competent jurisdiction before the sale of the property, then the mortgagor will waive such right

or defense to the sale. However, the General Assembly added specific protections provided to the

mortgagor to protect his property interests should the mortgagee or trustee fail to properly

execute a foreclosure sale pursuant to Ark. Code Ann.§ 18-50-101, et seq.

          18.   Ark. Code Ann. § 18-50-116 provides for the waiver of any defenses that the

mortgagor could have raised prior to the foreclosure sale, save for the assertion of the following

claims:

                (i) Fraud; or (ii) Failure to strictly comply with the provisions of this
                chapter, including without limitation subsection (c) of this section.

                Ark. Code Ann.§ 18-50-116(d)(2)(b)(l). (emphasis added)

          19.   Since the SFA abrogates the common law and allows for the taking of property

without judicial oversight, the Arkansas Supreme Court, when considering the SFA, held that,

"[a]ny statute which is in derogation of or at variance with the common law must be strictly

construed." Henson v Fleet Mortg. Co., 319 Ark. 491, 497 (Ark. 1995).

          20.   Ark. Code. Ann. § 18-50-102 precludes a person from serving as a trustee of a

deed of trust under the SFA except for: licensed Arkansas attorneys ((a)(l)); banks or savings

and loans authorized to do business under the laws of Arkansas or the United States




                                            Page4 of 12
            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 74 of 95




((1)(2))~   their afft.liates or out-of-state banks authorized to do business under the laws of

Arkansas or the United States ((a)(3)); or an agency or authority of the state ((a)(4)).

         21.     Ark. Code. Ann. § 18-50-116 specifically states that only banks, mortgage

companies, and savings and loans can avail themselves of the procedures afforded by the SFA

while Ark. Code. Ann. § 18-50-117 requires that the entity be authorized to do business in this

state.

         22.     As a result of Act 1303 of 2003, the SFA mandates that ''no person, flnn,

company, association, fiduciary or partnership, either domestic or foreign," shall be entitled to

enjoy the right to Arkansas' non-judicial foreclosure procedures unless they are authorized to do

business in Arkansas.

         23.     At no time during the Class Period, as defined below, was Defendant authorized

to conduct non-judicial foreclosures in Arkansas under the provisions of SFA as alleged above.

         24.     Defendant availed itself to the SFA and initiated statutory foreclosure proceedings

on Plaintiffs home within the State of Arkansas at a time it was not authorized to do business in

the State of Arkansas.

         25.     Defendant has availed itself to the SPA and non-judicially foreclosed on the Class

Members' real estate within the State of Arkansas at times it was not authorized to do business in

the State of Arkansas

         26.     Defendant's non-judicial foreclosure proceedings on Plaintiff's and the Class

Members' real estate property were unlawful, because they were done so in violation of the SFA

as Plaintiff was not authorized to do business within the State of Arkansas.

         27.     Defendant's failure to strictly comply with the requirements of the SFA in

availing itself to the SFA and non-judicially foreclosing on Plaintiffs and the Class Members'



                                            Page 5 of 12
         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 75 of 95




real estate property were unfair and unconscionable business practices in violation of the

ADTPA.

                               CLASS ACTION ALLEGAJIONS

       28.     Plaintiff hereby re-alleges and incorporates the foregoing Paragraphs, as if set

forth herein, word for word.

       29.     The Class is defined as follows:

       All residents of the State of Arkansas who were subject to non-judicial
       foreclosure proceedings initiated by BNY Mellon within the State of Arkansas in
       the past five years immediately preceding the filing of the original class action
       complaint up to and through the date of judgment in this case. Excluded from the
       Class are Defendant, its officers and directors, agents, and employees.


       30.     The Class Period shall include the five years preceding the filing on this

counterclaim up to and through entry of judgment in this action.

       T]picality/Ascertainability

       31.     Plaintiff's claims are typical of the transactions between the Defendant and all

other Arkansans who have been subject to non-judicial foreclosure actions by Defendant when it

did not have standing to bring such pro~ings as described herein.

       CommonaUty

       32.     Plaintiff's claims raise issues of fact or law, which are common to the members of

the putative class. These common questions include, but are not limited to the following:

                  a. Whether Defendant is authorized to do business in the State of Arkansas;

                  b. If not, whether Defendant may avail itself to the foreclosure proceedings

                      under the SFA within the State of Arkansas;

                  c. If not, whether Defendant's actions in failing to strictly comply with the

                      provisions of the SFA by not being authorized to do business within the


                                          Page 6 of 12
         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 76 of 95




                         State of Arkansas are unfair and unconscionable business practices in

                        violation of the ADTPA;

        33.    These issues are common among all putative class members and predominate

over any issues affecting individual members of the putative class.

       Numerosity

       34.     Defendant has conducted thousands of unlawful non-judicial foreclosures in

Arkansas.

       35.     The members of the class are so numerous and scattered throughout the State of

Arkansas that joinder of all members is impracticable.

       Superiority

       36.     A class action is superior to other available methods of relief for the fair and

efficient adjudication of the claims raised herein.

       37.     In the   absenc~   of class-action relief, the putative class members would be forced

to prosecute thousands of similar claims in different jurisdictions and venues throughout the

State of Arkansas, which would waste the judicial resources within the State, and with the risk of

inconsistent outcomes.

       38.     The prosecution of these claims as a class action will promote judicial economy.

       39.     The claims raised herein are well suited for class-action relief.

       40.     A class action would benefit both the Class and Defendant through a single

resolution of similar or identical questions of law or fact.

       Adequacy

       41.     Plaintiff is interested in the outcome of this litigation and understands the

importance of adequately representing the class.



                                             Page 7 of 12
         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 77 of 95




        42.     Plaintiff will fairly and adequately protect the interests of the class sought to be

certified in this case.

        43.     Class counsel are experienced in class-action and complex consumer litigation

and are qualified to adequately represent the class.

        44.     This case fully satisfies the requirements of Rule 23 of the Arkansas Rules of

Civil Procedure and should be certified as a class action.


                                                    COUNT I

                            VIOLATIONS OF THE ARKANSAS
                           DECEPriVE TRADE PRACTICES ACf


        45.     Plaintiff and the Class Members re-allege and incorporate by reference all

previous paragraphs as if fully set forth herein.

        46.     The ADTPA, Ark. Code Ann. § 4-88-101, et seq., is designed to protect

Arkansans from deceptive, unfair and unconscionable trade practices. The ADTPA is a remedial

statute, which is to be liberally construed.

        47.     The practices employed by Defendant in initiating non-judicial foreclosure

proceedings without being authorized to conduct business in Arkansas are unfair and

unconscionable under the ADTPA, and thus, violate the provisions of the ADTPA.

        48.     Defendant is engaged in "business, commerce, or trade," within the meaning of

Ark. Code Ann.§ 4-88-107(a)(10) and is a "person" within the meaning of Ark. Code Ann.§ 4-

88-102(5).

        49.     Further, within the meaning of Ark. Code Ann.§ 4-88-113(d) Defendant "directly

or indirectly" controlled others who might be liable for violations of the ADTPA and "knew or

should have known" of the violations of the ADTPA.


                                               Page 8 of 12
         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 78 of 95




        50.        Defendant's violations of the ADTPA resulted in Plaintiff and the Class having

their homes wrongfully foreclosed entitling them to actual damages pursuant to Ark. Code Ann.

§ 4-88-113(f).       Defendant is also liable for attorneys' fees, and enhanced penalties under the

ADTPA.


                                             COUNT II

                                     UNJUST ENRICJil\.fENT
        51.      Plaintiff and the Class Members re-allege and incorporate by reference all

previous paragraphs as if fully set forth herein.

       52.       Defendant received from the Plaintiff and Class members certain monies and

property as a result of Defendanf s conduct listed above which are unreasonable and excessive,

and the result of overreaching.

       53.       As a result, Plaintiff and the Class have conferred a benefit on Defendant, and

Defendant had knowledge of this benefit and have voluntarily accepted and retained the benefit

conferred on it.

        54.      Defendant will be unjustly enriched if they are allowed to retain such funds and

property, and Plaintiff and each Class Member are entitled to such equitable relief as may be

determined by the Court, in an amount equal to the amount Plaintiff and each Class Member

enriched Defendant and for which Defendant has been unjustly enriched.

        55.      Further, Plaintiff and the Class Members are entitled to equitable relief voiding all

of Defendant's non-judicial foreclosures for them and the Class where Defendant failed to

strictly comply with the provisions of the SFA.




                                             Page 9 of 12
•            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 79 of 95




                                                COUNTID

                                          SLANDER OF TITLE


           56.     Plaintiff and the Class Members hereby re-alleges and incorporates the foregoing

    Paragraphs, as if set forth herein, word for word.

           57.     By engaging in unauthorized actions under the SFA, Defendant has caused

    instruments to be filed of record in the offices of County Recorders of Arkansas, which adversely

    affect Plaintiff and Class Members' title and interest in their real property.

           58.     Defendant has used instruments, filed of record, to exact money and property

    from Class Members.

           59.     Defendant's actions violate Arkansas Code Annotated§ 5-37-226.

           60.     Plaintiff and each member of the Class are entitled to judgment for actual

    damages, treble damages, punitive damages and judgment for attorneys' fees and costs .


                                             .JURY DEMAND
           Plaintiff reserves the right to amend this pleading as allowed by the Arkansas Rules of

    Civil Procedure and hereby demand a trial by jury.

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiff and the Class Members pray for the following relief:


            a.     An order certifying the claims asserted herein as a class action;

           b.      Awarding Plaintiff and the Class judgment on each of the claims asserted herein;

            c.     Awarding Plaintiff and the Class their damages, treble damages, and punitive

    damages;

            d.     Awarding Plaintiff and the Class their attorneys' fee and costs of this litigation;



                                                Page 10 of 12
•   I   ..               Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 80 of 95




                    e.       Awarding equitable relief on behalf of Plaintiff and the Class by invalidating all

             of Defendant's statutory foreclosures within the State of Arkansas during the Class Period

             related to them;

                    f.       Disgorging all sums unjustly received by and to which Defendant has been

             unjustly enriched and provide such sums to Plaintiff and the Class; and,

                    g.       Awarding Plaintiff and the Class all other damages, awards, and injunctive relief

             the Court fmds to be proper and just.


             Dated: January 18, 2012                              Respectfully Submitted,



                                                               ~~                           ...
                                                                  Scott E. Poynter
                                                                  Chris D. Jennings
                                                                  Will T. Crowder
                                                                  Corey D. McGaha
                                                                  EMERSON POYNTER LLP
                                                                  500 President Clinton Ave., Ste 305
                                                                  Little Rock, AR 72201

                                                                  John G. Emerson (08012)
                                                                  EMERSON POYNTER LLP
                                                                  830 Apollo Lane
                                                                  Houston, TX 77058
                                                                  Phone: (281) 488-8854
                                                                  Fax: (281) 488-8867

                                                                  Joel Hargis
                                                                  CRAWLEY DELOACHE & HARGISJOE
                                                                  533 West Washington
                                                                  Jonesboro, AR 72401

                                                                  Kathy A. Cruz
                                                                  THE CRUZ LAW FIRM
                                                                  1325 Central Avenue
                                                                  Hot Springs, AR 71901



                                                       Page 11 of 12
. ... .           Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 81 of 95




                                                             Todd Turner
                                                             Dan Turner
                                                             ARNOLD. BATSON, TuRNER &
                                                             TURNER, P.A.
                                                             501 Crittenden Street
                                                             P.O. Box480
                                                             Arkadelphia, AR 71923

                                                             COUNSEL FOR PLAINTIFF
                                                             AND THE DEFINED CLASS



                                         CERTIFICATE OF SERVICE

                  I hereby certify that a true and accurate copy of the foregoing document was served upon
          the following counsel on this 18th day of January 2012.

          Samuel S. High
          Wll..SON & ASSOCIATES, PLLC
          1521 Merrill Drive, Suite D-220
          Little Rock, AR 72211




                                                   Page 12 of 12
         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 82 of 95




            IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                               smDIVISION



GARY REECE OR SHERRI WOODS                                          FILED 01/18/12 11:16:51                       ~
AND/OR OCCUPANTS OF                                                 lar~ Crane Pulaski Circ~
1015 NORTH MISSISSIPPI                                              CR3
LITTLE ROCK, AR 72fn                                                                   PLAINTIFFS

vs.                                   CASE NO. 60CV-2010-5926

THE BANK OF NEW YORK, :MELLON
AS TRUSTEE FOR CIT MORTGAGE LOAN
TRUST 2007-1                                                                           DEFENDANT




               NOTICE OF APPEARANCE ON BEHALF OF PLAINTIFFS



       PLEASE take notice that the following attorneys have been retained by the Plaintiffs and

hereby enter their appearances on their behalves as follows:

Scott E. Poynter                                                     1111111111 11111111111111111111 IIIII/I 111111111111
Chris D. Jennings                                                  60CV-10-5926             601-60100037069-011
Will T. Crowder                                                    GARY REECE ET AL VTHE SANK 3 Pages
Corey D. McGaha                                                    PULASKI CO               01/18/2012 11:16 AM
EMERSON POYNTER LLP                                                CIRCUIT COURT                           FI60
500 President Clinton Ave., Ste 305
Little Rock, AR 72201

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830 Apollo Lane
Houston, TX 77058
Phone: (281) 488-8854
Fax: (281) 488-8867

Todd Turner
Dan Turner
ARNOlD, BATSON, TURNER &
 TURNER, P.A.
''
     ..   -   .;tr_ ...
                                  Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 83 of 95




                          501 Crittenden Street
                          P.O. Box 480
                          Arkadelphia, AR 71923


                          Dated: January 18, 2012                   Respectfully Submitted,




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                                                                    COUNSEL FOR PLAINTIFF
                                                                    AND TilE DEFINED CLASS



                                                            Page2 of3
.._.   , ........;....   ..            Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 84 of 95




                                                             CERTIFICATE OF SERVICE

                                      I hereby certify that a true and accurate copy of the foregoing document was served upon
                              the following counsel on this 18th day of January 2011.

                              Samuel S. High
                              WILSON & ASSOCIATES, PLLC
                              1521 Merrill Drive, Suite D-220
                              Little Rock, AR 72211




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                      Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 85 of 95



                        IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS         ,--;t/2..L
                                           5th DIVISION       FILED 01/20/12 15:56:~- 0
                                                                                   Larr~     Crane Pulaski Circuit Clerk
         GARY REECE OR SHERRI WOODS                                                 t::ROl
         AND/OR OCCUPANTS OF
         1015 NORTH MISSISSIPPI
         LITTLE ROCK, AR 72207                                                                       PLAINTIFFS

         vs.                                    CASE NO: OCV 2010 5926


         THE BANK OF NEW YORK, MELLON
         AS TRUSTEE FOR CIT MORTGAGE
         LOAN TRUST 2007-1                                                                       DEFENDANTS


                MOTION TO STRIKE PLAINTIFF'S AMENDED COMPLAINT OR IN THE
                            ALTERNATIVE FOR A CONTINUANCE

                COMFS NOW Defendant, The Bank ofNew York, Mellon as Trustee for Cit Mottpse Loan

         Trost 2007-1, by and through its attorney Samuel Higb/Wdson & Associams, PL.L.C., and lbr its

         Motion to Strike Plain1iff's Amended Complaint or in the Alternative for a Continuance, pursuant to

         Rule 15 of1he Arkansas Rules of Civil Procedure, states as follows:

                1.       On November 4, 2011, 1his m8tter was set for trial, by agreement of1he parties.

                2.       On said date, a bench trial was set, at the request of Plaintiffi;' coll118el. Counsel fur

         Defendant did not object to a bench trial.

                 3.      On November 4, 2011. in concert with the setting ofthis matter for tri~ this Court Set

         a Motion cutoff for Monday, December 27, 2011. The Court also stated that the parties were to

         advise the Court as to whether a pretrial ~ necessary, no later 1han January 6, 2012.

                 4.      On January 9, 2012, Separate Plaintiff Sheri Woods moved for voluntary dismisml of

         her claim, and an Order wu entered granting the relief requested.

                                                                                       IIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIHIIIIIII~ IIII
                                                                                     60CV-10-5926           601-60100837284-007
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                                                                                     CIRCUIT COURT                               MNC0
                          Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 86 of 95
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                     5.      On January 18, 2012, Plaintiff filed its ''First Amended Class Action Complaint',

          along with an entry of appearance on behalf of seven additional attorneys, as "Comlsel For Plaintitf

          and the Defined c~."

                     6.      ARCP Rule 15(a) provides that a party may amend his pleadings at any time without

          leave of court; however, Rule 15(a) also provides as follows: "Where, however, upon motion of an

          opposing party, the court determines that prejudice would result or the disposition of the cause would

          be unduly delayed because of the filing of an amendment, the court may strike sucll amended

          pleading or grant a continuance of the proceeding."

                     7.      Defendant hereby requesm that Plaintiff's Amended Complaint be stricken pursuant to

          ARCP Rule 15(a), for the reasons set forth herein and in the brief accompanying this motion. In the

          alternative, Defendant requests that a continuance be granted.

                     8.      Specifically, Plaintiff has filed an Amended Complaint over two months after tis

          matter was set for a bench 1rial, as agreed to by counsel for the parties herein. Likewise, said

          Amended Complaint was filed nine days· prior to the 1rial date of Jarwmy 27, and well after 1he

          Motion cutoff date of December 27.

                     9.       Defendant respectfully submits that the filing of the Amended Complaint by Plaintiff

          is untimely and extremely prejudicial, in light of the pending trial date., set per the agreement of the

          parties.

                     10.      Defendant respectfully submits that due to the timing of the filing of the Amended

          Complaint, and given the nature of the pleadin& the same should be stricken pursuant to ARCP Rule

          I 5(a). In the alternative, a continuance should be gran~ so that Defendant may address a pleading

          that was filed nine days prior to trial, and over two months after the parties agreed to a trial date.

                     It.      Given the timing and nature of the Amended Com.plaiDt, its prejudicial effect, and ibe-

          apparent attempt to unduly delay the disposition of this proceeding, Defendant should be awmded
                  Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 87 of 95
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        reasonable costs and   attomey~s   fees incurred as a result of tbe filing of the Amended Complaint,

        including but not limited to, costs and attorney~s fees associated with tbe filing of this Motion and

        brief in support thereo£

                12.     Defendant files its brief in support of this Motion simultaneously herewith,

        incorporating the same herein, by reference, as if set forth word for word.

                WHEREFORE, Defendant prays that this Motion be granted; that PJaintifrs Amended

        Complaint be stricken pursuant to ARCP Rule IS(a); in the alternative~ for a continuance pursuant

        to ARCP Rule lS(a); for its costs and attorney's fees, associated with the filing of the Amended

        Complaint and this Motion and supporting brief in response theretO; and for all other just and

        proper relief to which it is entitled.

                                                               Respectfully Submitted,




                                                               ~~~
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                                                               Little Rock, AR 12211
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                                                               (SOl) 219-9458 Facsimile

                                                               Attorney for The Baak ofNew YOJi:. Mellon as
                                                               Trustee for Cit Mortgagel.oan Trust 2007..1


                                            CERTIFICATE OF SERVICE

                On this  tfi1;y ~ of2012, attue
        United States Mail, with sufficient
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                                    n ensure delivery, upon:  to
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              Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 89 of 95
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                 IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                               Stla DMSION                    FILED 01/20/12 15:56:23 ~
                                                                              Lar~   Crane Pulaski Circuit CLerk
    GARY REECE OR SBERRI WOODS                                               CROl
    AND/OR OCCUPANTS OF
    1115 NORTH MISSISSIPPI
    LITTLE ROCK, AR 72207                                                                   PI..A.IN'Dif...lm . .

    vs.                                    CASE NO: 60CV 2010 5926                                                 I~ ~II·.
                                                                                 1111111111111111111111111111111 Hill 1111
                                                                                69CV-10-5926         601-60108037284-012
                                                                                GARY REECE ET AL VTHE BANK 4Pages .
    THE BANK OF NEW YORK. MELLON                                                PULASKI CO           01/20/2912 03:56 ~
    AS TRUSTEE FOR CIT MORTGAGE                                                 CIRCUIT COURT                       FI51
    LOAN TRUST 2007-1                                                                . -·DEFENDANTS                          .


          DEFNDANT'S BRIEF IN SUPPORT OF ITS MOTION TO S1'R1KE PLAIN1'JfFS
          AMENDED COMPLAINT OR IN THE ALTERNATIVE, FOR A CONTINUANCE

                                   L       INTRODUCTION

            On November 4~ 2011, this matter was set for~ by agreement oftbe parties. On said-

    a bench trial was set, at the request of Plaintiffs' counsel. Counsel fur Defendant did not olject 1D a

    bench trial. On November 4, 2011~ in concert with the setting of this matter for trial, this Court set a

    Motion cutoff date for Monday, Deoember 27, 2011. The Court also stated that 1he parties were to

    advise the Court as to whether a pretrial was necessm:y, no later than January~ 2012.

            On January 9, 2012~ Separate Plaintiff Sheri Woods moved        for voluntary disrrJssal of her

    claim, and an Order was entered granting the relief requested. On January 18,2012, Plaintiff filed its

    "First Amended Class Action     Complaint"~   along with an entry of appearance on behalf of seven

    additional~ as "Counsel For Plaintiff and the Defined Class."

                                   D.      ARGUMENT

            ARCP Rule 15(a) provides that a party may amend his pleadings at any time without leave of

    court; however, Rule IS(a) also provides as follows: "Where, however, upon motion of an opposing

    party9 the cow:t det.ennines that prejudice would result or the disposition of the cause would be unduly
           Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 90 of 95



delayed because ofthe filing of an amendment, the court may strike such amended pleading or gnmt a

continuance of the proceeding." In Williams v. Public Water Authority, 368 Ark. 219; 243 S.W3d

903 (2006), the Arkansas Supreme Court upheld the trial court's striking of an Amended Complaint

filed 1hree weeks prior to trial, where the trial court had held the amendment to be untimely, finding

that allowing the amendment would prejudice the appellees by foreing tbem to defend against new

allegations so close to trial. ld

        In this case,. on October 15, 2010, Plaintiff filed a two page Complaint for Tempormy

Restraining Order, wherein Plaintiff requested that a Temporary Restraining Order be granted :lbr the

reasons set forth in said Complamt. Plaintiff failed to amend said Complaint until January 1~ 2012.

Plaintiff bas now filed an eleven page Amended Complaint, nine days prior to the agreed bench trial

date of January 27, well after the Motion cut-off date {December 21} set by thiS Court. This Amended

Complaint purports to be a Class Action Complaint Said Amended Complaint contains eounts

alleging violation(s) of the Arkansas Deceptive Trade Practices Act, along with counts          ~

Unjust Enrichment and Slander of Title. It contains sixty pamgraphs and demands a jury 1ria1. The

filing of this Amended Complaint is, without question, cause for relief 'tlllde£ ARCP 15(a).

        In~ the filing of an Am~ Complaint oftbis ~ at this juncture ofthe case, is·amse

for relief under Rule 15. There is no question that the Plaintift's Amendment ofbis Complaint, at tms

point in time, is beyond prejudicial, and disposition of the cause would be unduly delayed because of

the filing of the Amended Complaint. ARCP 15. While, Defendant amnot comprehend why ooe

would file an Amended Complaint of this ~ nine days before ~ absent even a request for a

continuance, the record speaks for itself. Nevertheless, due to the facts set fbrtb herein, llefaJdant is

entitled to relief pursuant to ARCP 15(a). In requesting relief mder Rule 15, Defendant recognizes

the Court's discretion as to whether the Amended Complaint should be stricken or a CODtinuanee
               Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 91 of 95
..
     should be granted. If this Court feels that a continuance is ~ .l.lefundant will cooperate in

     tenns of any scheduling that may be necessary.

                                     llL     CONCLUSION

             For the reasons set forth herein, Defendant respectfully submits 1bat due to the timing of the

     filing of the Amended Complaint, and given the nature of the pleading, 1be same· should be stricken

     pmswmt to ARCP Rule 15(a). In the alternativet a continuance should be granted, so that Defendant

     may address a pJeading that was filed nine days prior to trial, and over two months after the .parties

     agreed to a trial date. Defendant requests that it be awarded costs and attorney's fees incurred wi1h

     the filing of this Motion and brief in support thereof.



                                                               Respectfully Submitted,




                                                               S uel H.             1125)
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                                                               Attorney for The Bank ofNew Yorlc; Mellon as
                                                               Trustee for Cit Mortgage Loan Trust 2007-1


                                        CERTD'ICATE OF SERVICE

            On this   dtL{~ of        7~   2012, a true copy of the foregoing was served via
     United States Maa with sufficientPOSbl~ to ensme delivery, upon:

     Kathy A. Cruz
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                 Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 92 of 95
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                                                         Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 93 of 95
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                                                                        IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                                                                           SthDMSION

                                             GARY REECE OR SIIERRI WOODS
                                             AND/OR OCCUPANTS OF
                                             1115 NORm MISSISSIPPI
                                             LITfLE ROCK, AR 72217                                                                                                                                                                                                             PLAINTIFFS

                                             vs.                                                                                         CASE NO: 60CV lOUt 5926
                                                                                                                                                                                                                                        FILED 01131/12 08:56:28
                                                                                                                                                                                                                                        Larr':l Crane Pulaski Circuit Clerk
                                             THE BANK OF NEW YORK, MELLON                                                                                                                                                               FG
                                             AS TRUSTEE FOR CIT MORTGAGE
                                             LOAN TRUST 2007-1                                                                                                                                                                                                        DEFENDANTS


                                                                                                                            ORDER FOR CONTINUANCE

                                                         COMES NOW this ttl8tter before the Court. The Court being apprised of all issues relevant to

                                             this matter, doth hereby CONSIDER, ORDER and ADJUDGE as follows:

                                                         1.                 This matter is presently set for a bench trial on Janumy 27, 2012. For scheduling

                                             purposes. due to the filing ofPbUntiffs Amended Complaint on January 18, 2012, and fur good cause

                                             shown, a continuance is granted This matter sball be removed ftom the Court's Janusry 27, 2012
i       ·······'. '··· ···'······-··-"''   ··--doe:kct···-~'-····-···-·         ·'·'····- ........, .............., ·---··· ·.,..... ··--•-~--- ......... ---~···•-• ...._.-;..•·:· :...•....:. "-"' ;..... ... ,:;,;.,_:·: •.:c.:c:   .:.c·.>::•:.:....   •,.,:.;;,.,:;~·:,;·;.;;,;•.:.:.:·c... ·: .• •·   ...................-····-····-




                                                         2.                 This matter is hereby continued until the ~day of ....                                                                                                        t!\o,.y. . .. . · ,.,2012, at
                                                  \0 : 0 0                  ep.m.,                             or 8$ sooiltherea.fler as it Diay be heard.

                                                         IT IS SO ORDERED.



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Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 94 of 95




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                                       Case 4:12-cv-00091-BSM Document 1 Filed 02/10/12 Page 95 of 95




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501-219-9388
fax 501-219-9458                                                          January 24, 201a.
Internet: w.ww. wil!ID!l~~£~.(:.9ffi


  John Barney*'"                            Honorable Wendell L. Griffm     Via Electronic Mail
  J21nes Bergstrom••
  Holly Bishop••                            Pulaski County Circttit Judge
  Angela Boyd
 Randall S, Buelert-
                                            5t11 Division
 K.imbeliy D. Burnette                      410 Courthouse, 401 W. Markham St
 Mary Robin C&~teel
 Kimberly C. Hedrick ..                     Little Rock, AR 72201
 KristiJl Camp
 Ted Cummins••
 r..eslic Fryncll                           RE:     Gary Reece, et al. v. The Bank.ofNew York, Mellon as Trustee for
 Joel W Qidd!ln&U
 Micltael Hathorn*                                  Citi Mortgage Loan Trust 2007-1 I Case No. 60 CV 20 10 5926
 Rick Helms+•
 Sam,wl Hisll f-
 Jay Kendall••
 Jonathllll Luedloff                        Dear Judge Griffen:
 Angcla Martin
 Courtney ~filler
 H. Keith Moni:;on+                                 Please f'md a precedent, agreed Order of Continuance for the above matter.
 Robert H MC3S40
 D!miel Osborne+                            I~ is my understanding that the Court is in the midst of a jury trial this week~ likely
 Christopher L Palmer+                      requiring a continuance of the final hearing set for Friday, January 27, 2012. Also, an
 Admn Pernue
 J Skipper Rayr                             Amended Complaint was filed by the Plaintiff on January 18, 2012. Subsequently, I had
 John Roan••
 JP.~                                       (on behalf of my client) sought relief pursuant to Rule 15, in the form of a Motion to
  Linda Sclmeiderl
  Aaron Squyres+                            Strike and In the Alternative, For a Continuance. You may allow this letter to confirm
  Rabin Sulli~an
  Shellie Wallace+
                                            that given the necessity of a continuance, I concede that there is no longer a need to
  Charlet~ T. Ward. Jr.                     address my Motion.
  Robert M. Wi!Mltl, Jr.++
  Jennifer Wilson-Harvey+
  Merle Yod.er                                     If the Order meets with your approval, then I ask that you execute the same so that
                                            it can be sent to the clerk for filing. I am copying opposing counsel on this
 +Adrnilled in i\rlca1loas and Tei!IU!Q""
 +1-AdmiUed in tl.rlouuas, T'"'......:c     correspondence.
     andTCl<&S
  •• Admitled 1n Tcmres.tte
  • oreounw                                                                             Sincerely,
  All otbors admitted in A.rkanoas


                                                                                        WILSON & ASSOCIATES, PLLC




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                                            efi:n

                                            cc:     Shannon Robinson (via email)
                                                    Kathy Cruz (via email)
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                                                                                                      60CV-10-5926           601-60100037706-034
                                                    Joel Hargis (via email)                           GARY REECE ET      ~   VTHE     BAt~K   0 1 Page
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                                                                                                      CIRCUIT COURI                                FI74
